Case MDL No. 2930 Document 1-8 Filed 12/20/19 Page 1 of 70




                    Exhibit 3
12/18/2019                Case MDL No. 2930 Document
                                                CM/ECF 1-8    Filed
                                                       LIVE - U.S.    12/20/19
                                                                   District Court:ded Page 2 of 70

                                                                                                                           PATENT

                                                U.S. District Court
                                        District of Delaware (Wilmington)
                                 CIVIL DOCKET FOR CASE #: 1:19-cv-02053-LPS


 Novartis Pharmaceuticals Corporation v. Dr. Reddys Laboratories,                      Date Filed: 10/29/2019
 Inc. et al                                                                            Jury Demand: None
 Assigned to: Judge Leonard P. Stark                                                   Nature of Suit: 835 Patent - Abbreviated
 Related Cases: 1:18-cv-01043-LPS                                                      New Drug Application(ANDA)
                1:19-cv-01979-LPS                                                      Jurisdiction: Federal Question
                1:19-cv-02021-LPS
 Cause: 35:271 Patent Infringement
 Plaintiff
 Novartis Pharmaceuticals Corporation                                    represented by Daniel M. Silver
                                                                                        McCarter & English, LLP
                                                                                        Renaissance Centre
                                                                                        405 N. King Street, 8th Floor
                                                                                        Wilmington, DE 19801
                                                                                        (302) 984-6300
                                                                                        Fax: (302) 691-1260
                                                                                        Email: dsilver@mccarter.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Alexandra M. Joyce
                                                                                       McCarter & English, LLP
                                                                                       Renaissance Centre
                                                                                       405 N. King Street, 8th Floor
                                                                                       Wilmington, DE 19801
                                                                                       (302) 984-6392
                                                                                       Fax: (302) 450-4235
                                                                                       Email: ajoyce@mccarter.com
                                                                                       ATTORNEY TO BE NOTICED


 V.
 Defendant
 Dr. Reddys Laboratories, Inc.
 Defendant
 Dr. Reddys Laboratories, Ltd.
 Defendant
 Hetero USA Inc.
 Defendant
 Hetero Labs Limited
 Defendant
https://ecf.ded.uscourts.gov/cgi-bin/DktRpt.pl?123392455081952-L_1_0-1                                                            1/4
12/18/2019                  Case MDL No. 2930 Document
                                                  CM/ECF 1-8    Filed
                                                         LIVE - U.S.    12/20/19
                                                                     District Court:ded Page 3 of 70

 Hetero Labs Limited Unit III
 Defendant
 MSN Pharmaceuticals Inc.
 Defendant
 MSN Laboratories Private Limited
 Defendant
 MSN Life Sciences Private Limited
 Defendant
 Mylan Pharmaceuticals Inc.
 Defendant
 Mylan Inc.
 Defendant
 Mylan Laboratories Limited
 Defendant
 Novugen Pharma (Malaysia) Sdn. Bhd.

 Defendant
 Zydus Pharmaceuticals (USA) Inc.
 Defendant
 Cadila Healthcare Ltd.


  Date Filed            #     Docket Text
  10/29/2019             1 COMPLAINT for PATENT INFRINGEMENT filed against Cadila Healthcare Ltd., Dr.
                           Reddys Laboratories, Inc., Dr. Reddys Laboratories, Ltd., Hetero Labs Limited, Hetero
                           Labs Limited Unit III, Hetero USA Inc., MSN Laboratories Private Limited, MSN Life
                           Sciences Private Limited, MSN Pharmaceuticals Inc., Mylan Inc., Mylan Laboratories
                           Limited, Mylan Pharmaceuticals Inc., Novugen Pharma (Malaysia) Sdn. Bhd., Zydus
                           Pharmaceuticals (USA) Inc. - Magistrate Consent Notice to Pltf. ( Filing fee $ 400, receipt
                           number 0311-2766453.) - filed by Novartis Pharmaceuticals Corporation. (Attachments: #
                           1 Exhibit A-D, # 2 Civil Cover Sheet)(nmg) (Entered: 10/30/2019)
  10/29/2019             2 Notice, Consent and Referral forms re: U.S. Magistrate Judge jurisdiction. (nmg) (Entered:
                           10/30/2019)
  10/29/2019             3 Supplemental information for patent cases involving an Abbreviated New Drug
                           Application (ANDA) - Date Patentee(s) Received Notice: See Attached. Date of
                           Expiration of Patent: See Attached.Thirty Month Stay Deadline: 7/7/2023. (nmg) (Entered:
                           10/30/2019)
  10/29/2019             4 Report to the Commissioner of Patents and Trademarks for Patent/Trademark Number(s)
                           8,101,659; 8,796,331; 8,877,938; 9,388,134. (nmg) (Entered: 10/30/2019)
  10/29/2019             5 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Novartis AG for
                           Novartis Pharmaceuticals Corporation filed by Novartis Pharmaceuticals Corporation.
https://ecf.ded.uscourts.gov/cgi-bin/DktRpt.pl?123392455081952-L_1_0-1                                                   2/4
12/18/2019                Case MDL No. 2930 Document CM/ECF 1-8    Filed
                                                            LIVE - U.S.    12/20/19
                                                                        District Court:ded Page 4 of 70

                           (nmg) (Entered: 10/30/2019)
  10/29/2019                 No Summons Issued. (nmg) (Entered: 10/30/2019)
  11/06/2019                 Case Assigned to Judge Leonard P. Stark. Please include the initials of the Judge (LPS)
                             after the case number on all documents filed. (rjb) (Entered: 11/06/2019)
  12/12/2019             6 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Cadila Healthcare Ltd. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver, Daniel)
                           (Entered: 12/12/2019)
  12/12/2019             7 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Dr. Reddys Laboratories, Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019             8 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Dr. Reddys Laboratories, Ltd. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019             9 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                           Hetero Labs Limited Unit III waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                           Daniel) (Entered: 12/12/2019)
  12/12/2019           10 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Hetero Labs Limited waiver sent on 11/8/2019, answer due 1/7/2020. (Silver, Daniel)
                          (Entered: 12/12/2019)
  12/12/2019           11 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Hetero USA Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver, Daniel)
                          (Entered: 12/12/2019)
  12/12/2019           12 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          MSN Laboratories Private Limited waiver sent on 11/8/2019, answer due 1/7/2020.
                          (Silver, Daniel) (Entered: 12/12/2019)
  12/12/2019           13 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          MSN Life Sciences Private Limited waiver sent on 11/8/2019, answer due 1/7/2020.
                          (Silver, Daniel) (Entered: 12/12/2019)
  12/12/2019           14 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          MSN Pharmaceuticals Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                          Daniel) (Entered: 12/12/2019)
  12/12/2019           15 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Mylan Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver, Daniel) (Entered:
                          12/12/2019)
  12/12/2019           16 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Mylan Laboratories Limited waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                          Daniel) (Entered: 12/12/2019)
  12/12/2019           17 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Mylan Pharmaceuticals Inc. waiver sent on 11/8/2019, answer due 1/7/2020. (Silver,
                          Daniel) (Entered: 12/12/2019)
  12/12/2019           18 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
                          Novugen Pharma (Malaysia) Sdn. Bhd. waiver sent on 11/8/2019, answer due 1/7/2020.
                          (Silver, Daniel) (Entered: 12/12/2019)
  12/12/2019           19 WAIVER OF SERVICE returned executed by Novartis Pharmaceuticals Corporation: For
https://ecf.ded.uscourts.gov/cgi-bin/DktRpt.pl?123392455081952-L_1_0-1                                                 3/4
12/18/2019                Case MDL No. 2930 Document    CM/ECF 1-8    Filed
                                                               LIVE - U.S.    12/20/19
                                                                           District Court:ded Page 5 of 70

                           Zydus Pharmaceuticals (USA) Inc. waiver sent on 11/8/2019, answer due 1/7/2020.
                           (Silver, Daniel) (Entered: 12/12/2019)



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                                                                                     Criteria: 1/1/1970 End
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                                   Pages:




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          Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS    Document
                                    1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19  PagePage  6 ofPageID
                                                           1 of 65   70    #: 1



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

                                                 )
NOVARTIS PHARMACEUTICALS                         )
CORPORATION,                                     )
                                                 )
                  Plaintiff,                     )
                                                 )
                  v.                             )
                                                 )
DR. REDDY’S LABORATORIES, INC.,                  )                 C.A. No. ________
DR. REDDY’S LABORATORIES, LTD.,                  )
HETERO USA INC., HETERO LABS                     )
LIMITED, HETERO LABS LIMITED                     )
UNIT III, MSN PHARMACEUTICALS                    )
INC., MSN LABORATORIES PRIVATE                   )
LIMITED, MSN LIFE SCIENCES                       )
PRIVATE LIMITED, MYLAN                           )
PHARMACEUTICALS INC., MYLAN                      )
INC., MYLAN LABORATORIES                         )
LIMITED, NOVUGEN PHARMA                          )
(MALAYSIA) SDN. BHD., ZYDUS                      )
PHARMACEUTICALS (USA) INC.,                      )
CADILA HEALTHCARE LTD.,                          )
                                                 )
                  Defendants.                    )
                                                 )

                                            COMPLAINT

         Novartis Pharmaceuticals Corporation (“Novartis”), by its attorneys, hereby alleges as

follows:

                                    NATURE OF THE ACTION

         1.       This is a patent infringement action arising under Title 35 of the United States

Code and concerning Abbreviated New Drug Applications (“ANDAs”) submitted to the United

States Food and Drug Administration (“FDA”) by the above-named defendants seeking FDA

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

sacubitril/valsartan tablets, generic versions of Novartis’s ENTRESTO® tablets, 24 mg/26 mg,



ME1 31830177v.1
            Case MDL No. 2930Document
     Case 1:19-cv-02053-LPS    Document
                                      1 1-8
                                        FiledFiled 12/20/19
                                              10/29/19  PagePage  7 ofPageID
                                                             2 of 65   70    #: 2



49 mg/51 mg, and 97 mg/103 mg, prior to the expiration of U.S. Patents Nos. 8,101,659 (the

“’659 patent”), 8,796,331 (the “’331 patent”), 8,877,938 (the “’938 patent”), and 9,388,134 (the

“’134 patent”).

                                              PARTIES

A.       Novartis

         2.       Novartis Pharmaceuticals Corporation is a corporation organized and existing

under the laws of the State of Delaware, having a principal place of business in East Hanover,

New Jersey.

B.       Defendants

         a.       Dr. Reddy’s Laboratories, Inc.; Dr. Reddy’s Laboratories, Ltd.
                  (ANDA No. 213627)

         3.       On information and belief, Dr. Reddy’s Laboratories, Inc. is a corporation

organized and existing under the laws of the State of New Jersey, having a principal place of

business at 107 College Road East, Princeton, New Jersey 08540. On information and belief, Dr.

Reddy’s Laboratories, Inc. is a wholly owned subsidiary of Dr. Reddy’s Laboratories, Ltd.

         4.       On information and belief, Dr. Reddy’s Laboratories, Ltd. is a corporation

organized and existing under the laws of India, having a principal place of business at 8-2-337

Road No. 3, Banjara Hills, Hyderabad, 500034, India.

         5.       On information and belief, Dr. Reddy’s Laboratories, Inc. develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

         6.       On information and belief, Dr. Reddy’s Laboratories, Ltd. develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

                                                   2
ME1 31830177v.1
          Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS    Document
                                    1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19  PagePage  8 ofPageID
                                                           3 of 65   70    #: 3



         7.       By a letter dated September 18, 2019 (“Dr. Reddy’s Notice Letter”), Dr. Reddy’s

Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd. notified Novartis that (i) Dr. Reddy’s

Laboratories, Inc., on behalf of Dr. Reddy’s Laboratories, Ltd., had submitted to the FDA

ANDA No. 213627 for sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103

mg (“Dr. Reddy’s ANDA Products”), seeking FDA approval to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Dr. Reddy’s ANDA Products in

or into the United States, including Delaware, prior to the expiration of the ’659, ’331, ’938, and

’134 patents, and that (ii) ANDA No. 213627 includes a certification pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) against the ’659, ’331, ’938, and ’134 patents.

         8.       Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd. have

committed an act of infringement in this judicial district by filing ANDA No. 213627 with the

intent to make, use, sell, offer for sale, and/or import the Dr. Reddy’s ANDA Products in or into

this judicial district, prior to the expiration of the ’659, ’331, ’938, and ’134 patents, an act of

infringement that has led and will lead to foreseeable harm and injury to Novartis, a Delaware

corporation.

         9.       On information and belief, Dr. Reddy’s Laboratories, Inc. acted in concert with

and under the direction of Dr. Reddy’s Laboratories, Ltd. in the preparation and submission of

ANDA No. 213627, and, if the ANDA is approved, will act in concert with and under the

direction of Dr. Reddy’s Laboratories, Ltd. to engage in the commercial manufacture, use, sale,

offer for sale, and/or importation of the Dr. Reddy’s ANDA Products in or into the United States,

including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents.

         10.      Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories Ltd. have taken the

costly, significant step of applying to the FDA for approval to engage in future activities,


                                                   3
ME1 31830177v.1
          Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS    Document
                                    1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19  PagePage  9 ofPageID
                                                           4 of 65   70    #: 4



including the marketing of the Dr. Reddy’s ANDA Products, that will be purposefully directed at

Delaware and elsewhere.

         11.      On information and belief, Dr. Reddy’s Laboratories, Inc. has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware either directly or indirectly through subsidiaries, agents, or affiliates; has

purposefully availed itself of the privilege of doing business in Delaware; and derives substantial

revenue from the sale of drug products in Delaware.

         12.      On information and belief, Dr. Reddy’s Laboratories, Ltd. has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware either directly or indirectly through subsidiaries, agents, or affiliates; has

purposefully availed itself of the privilege of doing business in Delaware; and derives substantial

revenue from the sale of drug products in Delaware.

         13.      Dr. Reddy’s Laboratories, Ltd. and Dr. Reddy’s Laboratories, Inc. have availed

themselves of the legal protections of the State of Delaware by, among other things, admitting

jurisdiction and asserting counterclaims in lawsuits filed in the United States District Court for

the District of Delaware. See, e.g., Boehringer Ingelheim Pharms. Inc. et al. v. Dr. Reddy’s

Labs., Ltd. et al., C.A. No. 19-1495 (D. Del.).

         14.      Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd., the entities

identified in the Dr. Reddy’s Notice Letter as having submitted ANDA No. 213627, have agreed

with Novartis to litigate any patent action(s) concerning ANDA No. 213627 in the District of




                                                   4
ME1 31830177v.1
         Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS  Document1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19   PagePage
                                                            5 of 10
                                                                 65 of 70 #: 5
                                                                    PageID



Delaware, and have agreed, only for the purposes of such action(s), not to challenge personal

jurisdiction and venue in the District of Delaware.

         b.       Hetero USA Inc.; Hetero Labs Limited; Hetero Labs Limited Unit III
                  (ANDA No. 213668)

         15.      On information and belief, Hetero USA Inc. is a corporation organized and

existing under the laws of the State of Delaware, having a registered agent for the service of

process at W/K Incorporating Services, Inc., 3500 South Dupont Highway, Dover, Delaware

19901, and having a principal place of business at 1035 Centennial Avenue, Piscataway, New

Jersey 08854. On information and belief, Hetero USA Inc. is a partially owned subsidiary of

Hetero Labs Limited and a United States regulatory agent of Hetero Labs Limited Unit III.

         16.      On information and belief, Hetero Labs Limited is a corporation organized and

existing under the laws of India, having a principal place of business at 7-2-A2 Hetero Corporate

Industrial Estates Sanath Nagar, Hyderabad, Telangana 500018, India.

         17.      On information and belief, Hetero Labs Limited Unit III is a corporation

organized and existing under the laws of India, having a principal place of business at 7-2-A2

Hetero Corporate Industrial Estates, Sanath Nagar, Hyderabad, Telangana 500018, India. On

information and belief, Hetero Labs Limited Unit III is a division of Hetero Labs Limited.

         18.      On information and belief, Hetero USA Inc. develops, manufactures, distributes,

sells, and/or imports drug products for the entire United States market and does business in every

state including Delaware, either directly or indirectly.

         19.      On information and belief, Hetero Labs Limited develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.



                                                  5
ME1 31830177v.1
         Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS  Document1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19   PagePage
                                                            6 of 11
                                                                 65 of 70 #: 6
                                                                    PageID



         20.      On information and belief, Hetero Labs Limited Unit III develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         21.      By a letter dated September 18, 2019 (“Hetero Notice Letter”), Hetero USA Inc.,

Hetero Labs Limited, and Hetero Labs Limited Unit III notified Novartis that (i) Hetero USA

Inc., Hetero Labs Limited, and/or Hetero Labs Limited Unit III had submitted to the FDA

ANDA No. 213668 for sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103

mg (“Hetero ANDA Products”), seeking FDA approval to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Hetero ANDA Products in or into

the United States, including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134

patents, and that (ii) ANDA No. 213668 includes a certification pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) against the ’659, ’331, ’938, and ’134 patents.

         22.      Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III have

committed an act of infringement in this judicial district by filing ANDA No. 213668 with the

intent to make, use, sell, offer for sale, and/or import the Hetero ANDA Products in or into this

judicial district, prior to the expiration of the ’659, ’331, ’938, and ’134 patents, an act of

infringement that has led and will lead to foreseeable harm and injury to Novartis, a Delaware

corporation.

         23.      On information and belief, Hetero USA Inc. acted in concert with and under the

direction of Hetero Labs Limited and/or Hetero Labs Limited Unit III in the preparation and

submission of ANDA No. 213668, and, if the ANDA is approved, will act in concert with and

under the direction of Hetero Labs Limited and/or Hetero Labs Limited Unit III to engage in the

commercial manufacture, use, sale, offer for sale, and/or importation of the Hetero ANDA


                                                   6
ME1 31830177v.1
         Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS  Document1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19   PagePage
                                                            7 of 12
                                                                 65 of 70 #: 7
                                                                    PageID



Products in or into the United States, including Delaware, prior to the expiration of the ’659,

’938, ’331 and ’134 patents.

         24.      On information and belief, Hetero Labs Limited acted in concert with and

directed Hetero USA Inc. and/or Hetero Labs Limited Unit III in the preparation and submission

of ANDA No. 213668, and, if the ANDA is approved, will act in concert with and direct Hetero

USA Inc. and/or Hetero Labs Limited Unit III to engage in the commercial manufacture, use,

sale, offer for sale, and/or importation of the Hetero ANDA Products in or into the United States,

including Delaware, prior to the expiration of the ’659, ’938, ’331 and ’134 patents.

         25.      On information and belief, Hetero Labs Limited Unit III acted in concert with and

under the direction of Hetero Labs Limited, and acted in concert with and directed Hetero USA

Inc., in the preparation and submission of ANDA No. 213668, and, if the ANDA is approved,

will act in concert with and under the direction of Hetero Labs Limited, and will act in concert

with and direct Hetero USA, Inc., to engage in the commercial manufacture, use, sale, offer for

sale, and/or importation of the Hetero ANDA Products in or into the United States, including

Delaware, prior to the expiration of the ’659, ’938, ’331 and ’134 patents.

         26.      Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III have

taken the costly, significant step of applying to the FDA for approval to engage in future

activities, including the marketing of the Hetero ANDA Products, that will be purposefully

directed at Delaware and elsewhere.

         27.      On information and belief, Hetero Labs Limited has systematic and continuous

contacts with Delaware; has established distribution channels for drug products in Delaware;

regularly and continuously conducts business in Delaware, including by selling drug products in

Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates, including


                                                  7
ME1 31830177v.1
         Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS  Document1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19   PagePage
                                                            8 of 13
                                                                 65 of 70 #: 8
                                                                    PageID



Hetero USA Inc.; has purposefully availed itself of the privilege of doing business in Delaware;

and derives substantial revenue from the sale of drug products in Delaware.

         28.      On information and belief, Hetero Labs Limited Unit III has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates,

including Hetero USA Inc.; has purposefully availed itself of the privilege of doing business in

Delaware; and derives substantial revenue from the sale of drug products in Delaware.

         29.      Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III, the

entities identified in the Hetero Notice Letter as having submitted ANDA No. 213668, have

agreed with Novartis to litigate any patent action(s) concerning ANDA No. 213668 in the

District of Delaware, and have agreed, only for the purposes of such action(s), not to challenge

personal jurisdiction and venue in the District of Delaware.

         c.       MSN Pharmaceuticals Inc.; MSN Laboratories Private Limited;
                  MSN Life Sciences Private Limited
                  (ANDA No. 213748)

         30.      On information and belief, MSN Pharmaceuticals Inc. is a corporation organized

and existing under the laws of the State of Delaware, having a registered agent for the service of

process at United States Corporation Agents, Inc., 300 Delaware Avenue, Suite 210-A,

Wilmington, Delaware 19801, and having a principal place of business at 20 Duke Road,

Piscataway, New Jersey 08854. On information and belief, MSN Pharmaceuticals Inc. is a

wholly owned subsidiary of and U.S. agent for MSN Laboratories Private Limited.




                                                   8
ME1 31830177v.1
         Case MDL No. 2930Document
   Case 1:19-cv-02053-LPS  Document1 1-8
                                      FiledFiled 12/20/19
                                            10/29/19   PagePage
                                                            9 of 14
                                                                 65 of 70 #: 9
                                                                    PageID



         31.      On information and belief, MSN Laboratories Private Limited is a corporation

organized and existing under the laws of India, having a principal place of business at MSN House,

C-24, Sanathnagar Industrial Estate, Hyderabad, 500018, Telangana, India.

         32.      On information and belief, MSN Life Sciences Private Limited is a corporation

organized and existing under the laws of India, having a principal place of business at Sy No -

21/A & 21AA, Mambapur (Village), Gummadidala (Mandal), Sangareddy (District) - 502313,

Telangana, India. On information and belief, MSN Life Sciences Private Limited is a wholly

owned subsidiary of MSN Laboratories Private Limited.

         33.      On information and belief, MSN Pharmaceuticals Inc. develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         34.      On information and belief, MSN Laboratories Private Limited develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

         35.      On information and belief, MSN Life Sciences Private Limited develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

         36.      By a letter dated September 17, 2019 (“MSN Notice Letter”), MSN

Pharmaceuticals Inc. and MSN Laboratories Private Limited notified Novartis that (i) MSN

Pharmaceuticals Inc. and MSN Laboratories Private Limited had submitted to the FDA ANDA

No. 213748 for sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103 mg

(“MSN ANDA Products”), seeking FDA approval to engage in the commercial manufacture,

use, sale, offer for sale, and/or importation of the MSN ANDA Products in or into the United


                                                  9
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        10 of 15
                                                              65 of 70 #: 10
                                                                 PageID



States, including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents, and

that (ii) ANDA No. 213748 includes a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV)

against the ’659, ’331, ’938, and ’134 patents.

         37.      MSN Pharmaceuticals Inc. and MSN Laboratories Private Limited have

committed an act of infringement in this judicial district by filing ANDA No. 213748 with the

intent to make, use, sell, offer for sale, and/or import the MSN ANDA Products in or into this

judicial district, prior to the expiration of the ’659, ’331, ’938, and ’134 patents, an act of

infringement that has led and will lead to foreseeable harm and injury to Novartis, a Delaware

corporation.

         38.      On information and belief, MSN Pharmaceuticals Inc. acted in concert with and

under the direction of MSN Laboratories Private Limited, and acted in concert with MSN Life

Sciences Private Limited, in the preparation and submission of ANDA No. 213748, and, if the

ANDA is approved, will act in concert with and under the direction of MSN Laboratories Private

Limited, and will act in concert with MSN Life Sciences Private Limited, to engage in the

commercial manufacture, use, sale, offer for sale, and/or importation of the MSN ANDA

Products in or into the United States, including Delaware, prior to the expiration of the ’659,

’331, ’938, and ’134 patents.

         39.      On information and belief, MSN Life Sciences Private Limited acted in concert

with and under the direction of MSN Laboratories Private Limited, and acted in concert with

MSN Pharmaceuticals Inc., in the preparation and submission of ANDA No. 213748, and, if the

ANDA is approved, will act in concert with and under the direction of MSN Laboratories Private

Limited, and will act in concert with MSN Pharmaceuticals Inc., to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the MSN ANDA Products in or into


                                                  10
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        11 of 16
                                                              65 of 70 #: 11
                                                                 PageID



the United States, including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134

patents.

         40.      MSN Pharmaceuticals Inc. and MSN Laboratories Private Limited, by themselves

or together with MSN Life Sciences Private Limited, have taken the costly, significant step of

applying to the FDA for approval to engage in future activities, including the marketing of the

MSN ANDA Products, that will be purposefully directed at Delaware and elsewhere.

         41.      On information and belief, MSN Laboratories Private Limited has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates,

including MSN Pharmaceuticals Inc.; has purposefully availed itself of the privilege of doing

business in Delaware; and derives substantial revenue from the sale of drug products in

Delaware.

         42.      On information and belief, MSN Life Sciences Private Limited has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates,

including MSN Pharmaceuticals Inc.; has purposefully availed itself of the privilege of doing

business in Delaware; and derives substantial revenue from the sale of drug products in

Delaware.

         43.      MSN Pharmaceuticals Inc. and MSN Laboratories Private Limited have availed

themselves of the legal protections of the State of Delaware by, among other things, admitting

jurisdiction and asserting counterclaims in lawsuits filed in the United States District Court for


                                                  11
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        12 of 17
                                                              65 of 70 #: 12
                                                                 PageID



the District of Delaware. See, e.g., Vanda Pharms. v. MSN Pharms. Inc. et al., C.A. No. 19-926

(D. Del.).

         44.      MSN Pharmaceuticals Inc. and MSN Laboratories Private Limited, the entities

identified in the MSN Notice Letter as having submitted ANDA No. 213748, have agreed with

Novartis to litigate any patent action(s) concerning ANDA No. 213748 in the District of

Delaware, and have agreed, only for the purposes of such action(s), not to challenge personal

jurisdiction and venue in the District of Delaware.

         d.       Mylan Pharmaceuticals Inc.; Mylan Inc.; Mylan Laboratories Limited
                  (ANDA No. 213646)

         45.      On information and belief, Mylan Pharmaceuticals Inc. is a corporation organized

under the laws of the State of West Virginia, having a principal place of business at 781 Chestnut

Ridge Road, Morgantown, West Virginia 26505. On information and belief, Mylan

Pharmaceuticals Inc. is a wholly owned subsidiary of Mylan Inc.

         46.      On information and belief, Mylan Inc. is a corporation organized and existing

under the laws of the State of Pennsylvania, having a principal place of business at 1000 Mylan

Boulevard, Canonsburg, Pennsylvania 15317.

         47.      On information and belief, Mylan Laboratories Limited is a corporation organized

and existing under the laws of India, having a principal place of business at Plot No. 564/A122,

Road No. 92, Jubilee Hills, Hyderabad 500034, India. On information and belief, Mylan

Laboratories Limited is an indirectly wholly owned subsidiary of Mylan Inc.

         48.      On information and belief, Mylan Pharmaceuticals Inc. develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.



                                                  12
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        13 of 18
                                                              65 of 70 #: 13
                                                                 PageID



         49.      On information and belief, Mylan Inc. develops, manufactures, distributes, sells,

and/or imports drug products for the entire United States market and does business in every state

including Delaware, either directly or indirectly.

         50.      On information and belief, Mylan Laboratories Limited develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         51.      By a letter dated September 16, 2019 (“Mylan Notice Letter”), Mylan

Pharmaceuticals Inc. notified Novartis that (i) Mylan Pharmaceuticals Inc. had submitted to the

FDA ANDA No. 213646 for sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97

mg/103 mg (“Mylan ANDA Products”), seeking FDA approval to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Mylan ANDA Products in or into

the United States, including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134

patents, and that (ii) ANDA No. 213646 includes a certification pursuant to 21 U.S.C.

§ 355(j)(2)(A)(vii)(IV) against the ’659, ’331, ’938, and ’134 patents.

         52.      Mylan Pharmaceuticals Inc. has committed an act of infringement in this judicial

district by filing ANDA No. 213646 with the intent to make, use, sell, offer for sale, and/or

import the Mylan ANDA Products in or into this judicial district, prior to the expiration of the

’659, ’331, ’938, and ’134 patents, an act of infringement that has led and will lead to

foreseeable harm and injury to Novartis, a Delaware corporation.

         53.      On information and belief, Mylan Inc. acted in concert with and directed Mylan

Pharmaceuticals Inc. and/or Mylan Laboratories Limited in the preparation and submission of

ANDA No. 213646, and, if the ANDA is approved, will act in concert with and direct Mylan

Pharmaceuticals Inc. and/or Mylan Laboratories Limited to engage in the commercial


                                                  13
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        14 of 19
                                                              65 of 70 #: 14
                                                                 PageID



manufacture, use, sale, offer for sale, and/or importation of the Mylan ANDA Products in or into

the United States, including Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134

patents.

         54.      On information and belief, Mylan Laboratories Limited acted in concert with and

under the direction of Mylan Inc., and acted in concert with Mylan Pharmaceuticals Inc., in the

preparation and submission of ANDA No. 213646, and, if the ANDA is approved, will act in

concert with and under the direction of Mylan Inc., and will act in concert with Mylan

Pharmaceuticals Inc., to engage in the commercial manufacture, use, sale, offer for sale, and/or

importation of the Mylan ANDA Products in or into the United States, including Delaware, prior

to the expiration of the ’659, ’331, ’938, and ’134 patents.

         55.      Mylan Pharmaceuticals Inc., by itself or together with Mylan Inc. and Mylan

Laboratories Limited, has taken the costly, significant step of applying to the FDA for approval

to engage in future activities, including the marketing of the Mylan ANDA Products, that will be

purposefully directed at Delaware and elsewhere.

         56.      On information and belief, Mylan Pharmaceuticals Inc. has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates;

has purposefully availed itself of the privilege of doing business in Delaware; and derives

substantial revenue from the sale of drug products in Delaware.

         57.      On information and belief, Mylan Inc. has systematic and continuous contacts

with Delaware; has established distribution channels for drug products in Delaware; regularly

and continuously conducts business in Delaware, including by selling drug products in Delaware,


                                                  14
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        15 of 20
                                                              65 of 70 #: 15
                                                                 PageID



either directly or indirectly through its subsidiaries, agents, or affiliates; has purposefully availed

itself of the privilege of doing business in Delaware; and derives substantial revenue from the

sale of drug products in Delaware.

         58.      On information and belief, Mylan Laboratories Limited has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates;

has purposefully availed itself of the privilege of doing business in Delaware; and derives

substantial revenue from the sale of drug products in Delaware.

         e.       Novugen Pharma (Malaysia) Sdn. Bhd.
                  (ANDA No. 213611)

         59.      On information and belief, Novugen Pharma (Malaysia) Sdn. Bhd. (“Novugen”)

is a corporation organized and existing under the laws of Malaysia, having a principal place of

business at 3, Jalan Jururancang U1/21, Hicom-glenmarie Industrial Park, Shah Alam, 40150,

Malaysia.

         60.      On information and belief, Novugen develops, manufactures, distributes, sells,

and/or imports drug products for the entire United States market and does business in every state

including Delaware, either directly or indirectly.

         61.      By a letter dated September 16, 2019 (“Novugen Notice Letter”), Novugen

notified Novartis that (i) Novugen had submitted to the FDA ANDA No. 213611 for

sacubitril/valsartan tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103 mg (“Novugen ANDA

Products”), seeking FDA approval to engage in the commercial manufacture, use, sale, offer for

sale, and/or importation of the Novugen ANDA Products in or into the United States, including

Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents, and that (ii) ANDA

                                                  15
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        16 of 21
                                                              65 of 70 #: 16
                                                                 PageID



No. 213611 includes a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV) against the

’659, ’331, ’938, and ’134 patents.

         62.      Novugen has committed an act of infringement in this judicial district by filing

ANDA No. 213611 with the intent to make, use, sell, offer for sale, and/or import the Novugen

ANDA Products in or into this judicial district, prior to the expiration of the ’659, ’331, ’938,

and ’134 patents, an act of infringement that has led and will lead to foreseeable harm and injury

to Novartis, a Delaware corporation.

         63.      Novugen has taken the costly, significant step of applying to the FDA for

approval to engage in future activities, including the marketing of the Novugen ANDA Products,

that will be purposefully directed at Delaware and elsewhere.

         64.      On information and belief, Novugen has systematic and continuous contacts with

Delaware; has established distribution channels for drug products in Delaware; regularly and

continuously conducts business in Delaware, including by selling drug products in Delaware,

either directly or indirectly through its subsidiaries, agents, or affiliates; has purposefully availed

itself of the privilege of doing business in Delaware; and derives substantial revenue from the

sale of drug products in Delaware.

         65.      Novugen, the entity identified in the Novugen Notice Letter as having submitted

ANDA No. 213611, has agreed with Novartis to litigate any patent action(s) concerning ANDA

No. 213611 in the District of Delaware, and has agreed, only for the purposes of such action(s),

not to challenge personal jurisdiction and venue in the District of Delaware.

         f.       Zydus Pharmaceuticals (USA) Inc.; Cadila Healthcare Ltd.
                  (ANDA No. 213719)

         66.      On information and belief, Zydus Pharmaceuticals (USA) Inc. is a corporation

organized and existing under the laws of the State of New Jersey, having a principal place of

                                                  16
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        17 of 22
                                                              65 of 70 #: 17
                                                                 PageID



business at 73 Route 31 North, Pennington, New Jersey 08534. On information and belief,

Zydus Pharmaceuticals (USA) Inc. is a wholly owned subsidiary of Cadila Healthcare Ltd.

         67.      On information and belief, Cadila Healthcare Ltd. is a corporation organized and

existing under the laws of India, with a principal place of business at Zydus Tower, Satellite Cross

Roads, Ahmedabad-380015, Gujarat, India.

         68.      On information and belief, Zydus Pharmaceuticals (USA) Inc. develops,

manufactures, distributes, sells, and/or imports drug products for the entire United States market

and does business in every state including Delaware, either directly or indirectly.

         69.      On information and belief, Cadila Healthcare Ltd. develops, manufactures,

distributes, sells, and/or imports drug products for the entire United States market and does

business in every state including Delaware, either directly or indirectly.

         70.      By a letter dated September 18, 2019 (“Zydus Notice Letter”), Zydus

Pharmaceuticals (USA) Inc. notified Novartis that (i) Zydus Pharmaceuticals (USA) Inc. had

submitted to the FDA ANDA No. 213719 for sacubitril/valsartan tablets, 24 mg/26 mg, 49

mg/51 mg, and 97 mg/103 mg (“Zydus ANDA Products”), seeking FDA approval to engage in

the commercial manufacture, use, sale, offer for sale, and/or importation of the Zydus ANDA

Products in or into the United States, including Delaware, prior to the expiration of the ’659,

’331, ’938, and ’134 patents, and that (ii) ANDA No. 213719 includes a certification pursuant to

21 U.S.C. § 355(j)(2)(A)(vii)(IV) against the ’659, ’331, ’938, and ’134 patents.

         71.      Zydus Pharmaceuticals (USA) Inc. has committed an act of infringement in this

judicial district by filing ANDA No. 213719 with the intent to make, use, sell, offer for sale,

and/or import the Zydus ANDA Products in or into this judicial district, prior to the expiration of




                                                  17
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        18 of 23
                                                              65 of 70 #: 18
                                                                 PageID



the ’659, ’331, ’938, and ’134 patents, an act of infringement that has led and will lead to

foreseeable harm and injury to Novartis, a Delaware corporation.

         72.      On information and belief, Cadila Healthcare Ltd. acted in concert with and

directed Zydus Pharmaceuticals (USA) Inc. in the preparation and submission of ANDA No.

213719, and, if the ANDA is approved, will act in concert with and direct Zydus

Pharmaceuticals (USA) Inc. to engage in the commercial manufacture, use, sale, offer for sale,

and/or importation of the Zydus ANDA Products in or into the United States, including

Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents.

         73.      Zydus Pharmaceuticals (USA) Inc., by itself or together with Cadila Healthcare

Ltd., has taken the costly, significant step of applying to the FDA for approval to engage in

future activities, including the marketing of the Zydus ANDA Products, that will be purposefully

directed at Delaware and elsewhere.

         74.      On information and belief, Zydus Pharmaceuticals (USA) Inc. has systematic and

continuous contacts with Delaware; has established distribution channels for drug products in

Delaware; regularly and continuously conducts business in Delaware, including by selling drug

products in Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates;

has purposefully availed itself of the privilege of doing business in Delaware; and derives

substantial revenue from the sale of drug products in Delaware.

         75.      On information and belief, Cadila Healthcare Ltd. has systematic and continuous

contacts with Delaware; has established distribution channels for drug products in Delaware;

regularly and continuously conducts business in Delaware, including by selling drug products in

Delaware, either directly or indirectly through its subsidiaries, agents, or affiliates; has




                                                  18
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        19 of 24
                                                              65 of 70 #: 19
                                                                 PageID



purposefully availed itself of the privilege of doing business in Delaware; and derives substantial

revenue from the sale of drug products in Delaware.

         76.      Zydus Pharmaceuticals (USA) Inc. and Cadila Healthcare Ltd. have availed

themselves of the legal protections of the State of Delaware by, among other things, admitting

jurisdiction and asserting counterclaims in lawsuits filed in the United States District Court for

the District of Delaware. See, e.g., Boehringer Ingelheim Pharms. Inc. et al. v. Zydus Pharms.

(USA) Inc. et al., C.A. No. 19-1501 (D. Del.).

         77.      Zydus Pharmaceuticals (USA) Inc., the entity identified in the Zydus Notice

Letter as having submitted ANDA No. 213719, has agreed with Novartis to litigate any patent

action(s) concerning ANDA No. 213719 in the District of Delaware, and has agreed, only for the

purposes of such action(s), not to challenge personal jurisdiction and venue in the District of

Delaware.

                                   JURISDICTION AND VENUE

         78.      This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331 and 1338(a).

         a.       Dr. Reddy’s Laboratories, Inc.; Dr. Reddy’s Laboratories, Ltd.
                  (ANDA No. 213627)

         79.      This Court has personal jurisdiction over Dr. Reddy’s Laboratories, Inc. and Dr.

Reddy’s Laboratories, Ltd. because, on information and belief, each such Defendant has

committed or has aided, abetted, contributed to, or participated in the commission of tortious acts

of patent infringement in preparing and submitting ANDA No. 213627 with a certification

pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to foreseeable harm and injury

to Novartis, a Delaware corporation.



                                                   19
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        20 of 25
                                                              65 of 70 #: 20
                                                                 PageID



         80.      This Court also has personal jurisdiction over Dr. Reddy’s Laboratories, Inc. and

Dr. Reddy’s Laboratories, Ltd. because, on information and belief, each such Defendant, upon

approval of ANDA No. 213627, will commit or will aid, abet, contribute to, or participate in

future tortious acts of patent infringement permitted under ANDA No. 213627 that will be

purposefully directed at Delaware, including the marketing of the Dr. Reddy’s ANDA Products

in Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents.

         81.      This Court also has personal jurisdiction over Dr. Reddy’s Laboratories, Inc. and

Dr. Reddy’s Laboratories, Ltd. because, on information and belief, each such Defendant’s

affiliations with the State of Delaware are sufficiently continuous and systematic as to render

each such Defendant essentially at home in this forum.

         82.      This Court also has personal jurisdiction over Dr. Reddy’s Laboratories, Inc. and

Dr. Reddy’s Laboratories, Ltd. because each such Defendant has availed itself of the legal

protections of the State of Delaware, by admitting jurisdiction and asserting counterclaims in

lawsuits filed in the United States District Court for the District of Delaware.

         83.      Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd., the entities

identified in the Dr. Reddy’s Notice Letter as having submitted ANDA No. 213627, have agreed

with Novartis to litigate this action in Delaware and not to contest personal jurisdiction or venue

in Delaware in this action.

         84.      For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Dr. Reddy’s Laboratories, Inc.

and Dr. Reddy’s Laboratories, Ltd.

         85.      Venue is proper in this Court because Dr. Reddy’s Laboratories, Inc. has

consented to venue in Delaware for purposes of this action and because Dr. Reddy’s


                                                   20
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        21 of 26
                                                              65 of 70 #: 21
                                                                 PageID



Laboratories, Ltd. is a foreign entity who may be sued in any judicial district, including

Delaware. 28 U.S.C. § 1400(b); 28 U.S.C. § 1391(c)(3).

         b.       Hetero USA Inc.; Hetero Labs Limited; Hetero Labs Limited Unit III
                  (ANDA No. 213668)

         86.      This Court has personal jurisdiction over Hetero USA Inc., Hetero Labs Limited,

and Hetero Labs Limited Unit III because, on information and belief, each such Defendant has

committed or has aided, abetted, contributed to, or participated in the commission of tortious acts

of patent infringement in preparing and submitting ANDA No. 213668 with a certification

pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to foreseeable harm and injury

to Novartis, a Delaware corporation.

         87.      This Court also has personal jurisdiction over Hetero USA Inc., Hetero Labs

Limited, and Hetero Labs Limited Unit III because, on information and belief, each such

Defendant, upon approval of ANDA No. 213668, will commit or will aid, abet, contribute to, or

participate in future tortious acts of patent infringement permitted under ANDA No. 213668 that

will be purposefully directed at Delaware, including the marketing of the Hetero ANDA

Products in Delaware, prior to the expiration of the ’659, ’938, ’331, and ’134 patents.

         88.      This Court also has personal jurisdiction over Hetero USA Inc., Hetero Labs

Limited, and Hetero Labs Limited Unit III because, on information and belief, each such

Defendant’s affiliations with the State of Delaware, including Hetero USA Inc.’s incorporation

in Delaware, Hetero Labs Limited’s ownership of and actions in concert with Hetero USA Inc.,

and Hetero Labs Limited Unit III’s actions in concert with Hetero USA Inc. in filing ANDA No.

213668 and in regard to future tortious acts of patent infringement permitted under ANDA No.

213668, are sufficiently continuous and systematic as to render each such Defendant essentially

at home in this forum.

                                                 21
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        22 of 27
                                                              65 of 70 #: 22
                                                                 PageID



         89.      Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III, the

entities identified in the Hetero Notice Letter as having submitted ANDA No. 213668, have

agreed with Novartis to litigate this action in Delaware and not to contest personal jurisdiction or

venue in Delaware in this action.

         90.      For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Hetero USA Inc., Hetero Labs

Limited, and Hetero Labs Limited Unit III.

         91.      Venue is proper in this Court because Hetero USA Inc. is incorporated in the

State of Delaware and therefore resides in this judicial district, and because Hetero Labs Limited

and Hetero Labs Limited Unit III are foreign entities who may be sued in any judicial district,

including Delaware. 28 U.S.C. § 1400(b); 28 U.S.C. § 1391(c)(3).

         c.       MSN Pharmaceuticals Inc.; MSN Laboratories Private Limited;
                  MSN Life Sciences Private Limited
                  (ANDA No. 213748)

         92.      This Court has personal jurisdiction over MSN Pharmaceuticals Inc., MSN

Laboratories Private Limited, and MSN Life Sciences Private Limited because, on information

and belief, each such Defendant has committed or has aided, abetted, contributed to, or

participated in the commission of tortious acts of patent infringement in preparing and

submitting ANDA No. 213748 with a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV),

which acts have led to foreseeable harm and injury to Novartis, a Delaware corporation.

         93.      This Court also has personal jurisdiction over MSN Pharmaceuticals Inc., MSN

Laboratories Private Limited, and MSN Life Sciences Private Limited because, on information

and belief, each such Defendant, upon approval of ANDA No. 213748, will commit or will aid,

abet, contribute to, or participate in future tortious acts of patent infringement permitted under


                                                   22
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        23 of 28
                                                              65 of 70 #: 23
                                                                 PageID



ANDA No. 213748 that will be purposefully directed at Delaware, including the marketing of

the MSN ANDA Products in Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134

patents.

         94.      This Court also has personal jurisdiction over MSN Pharmaceuticals Inc., MSN

Laboratories Private Limited, and MSN Life Sciences Private Limited because each such

Defendant’s affiliations with the State of Delaware, including MSN Pharmaceuticals Inc.’s

incorporation in Delaware, MSN Laboratories Private Limited’s ownership of and actions in

concert with MSN Pharmaceuticals Inc., and MSN Life Sciences Private Limited’s actions in

concert with MSN Pharmaceuticals Inc. are sufficiently continuous and systematic as to render

each such Defendant essentially at home in this forum.

         95.      This Court also has personal jurisdiction over MSN Pharmaceuticals Inc. and

MSN Laboratories Private Limited because each such Defendant has availed itself of the legal

protections of the State of Delaware, by admitting jurisdiction and asserting counterclaims in

lawsuits filed in the United States District Court for the District of Delaware.

         96.      MSN Pharmaceuticals Inc. and MSN Laboratories Private Limited, the entities

identified in the MSN Notice Letter as having submitted ANDA No. 213748, have agreed with

Novartis to litigate this action in Delaware and not to contest personal jurisdiction or venue in

Delaware in this action.

         97.      For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over MSN Pharmaceuticals Inc.,

MSN Laboratories Private Limited, and MSN Life Sciences Private Limited.

         98.      Venue is proper in this Court because MSN Pharmaceuticals Inc. is incorporated

in the State of Delaware and therefore resides in this judicial district, and because MSN


                                                   23
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        24 of 29
                                                              65 of 70 #: 24
                                                                 PageID



Laboratories Private Limited and MSN Life Sciences Private Limited are foreign entities who

may be sued in any judicial district, including Delaware. 28 U.S.C. § 1400(b); 28 U.S.C. §

1391(c)(3).

         d.       Mylan Pharmaceuticals Inc.; Mylan Inc.; Mylan Laboratories Limited
                  (ANDA No. 213646)

         99.      This Court has personal jurisdiction over Mylan Pharmaceuticals Inc., Mylan Inc.,

and Mylan Laboratories Limited because, on information and belief, each such Defendant has

committed or has aided, abetted, contributed to, or participated in the commission of tortious acts

of patent infringement in preparing and submitting ANDA No. 213646 with a certification

pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to foreseeable harm and injury

to Novartis, a Delaware corporation.

         100.     This Court also has personal jurisdiction over Mylan Pharmaceuticals Inc., Mylan

Inc., and Mylan Laboratories Limited because, on information and belief, each such Defendant,

upon approval of ANDA No. 213646, will commit or will aid, abet, contribute to, or participate

in future tortious acts of patent infringement permitted under ANDA No. 213646 that will be

purposefully directed at Delaware, including the marketing of the Mylan ANDA Products in

Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents.

         101.     This Court also has personal jurisdiction over Mylan Pharmaceuticals Inc., Mylan

Inc., and Mylan Laboratories Limited because, on information and belief, each such Defendant’s

affiliations with the State of Delaware are sufficiently continuous and systematic as to render

each such Defendant essentially at home in this forum.

         102.     For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Mylan Pharmaceuticals Inc.,

Mylan Inc., and Mylan Laboratories Limited.

                                                   24
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        25 of 30
                                                              65 of 70 #: 25
                                                                 PageID



         103.     On information and belief, venue is proper in this Court as to Mylan

Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited pursuant to 28 U.S.C. § 1391

and/or 28 U.S.C. § 1400.

         e.       Novugen Pharma (Malaysia) Sdn. Bhd.
                  (ANDA No. 213611)

         104.     This Court has personal jurisdiction over Novugen because Novugen has

committed tortious acts of patent infringement in preparing and submitting ANDA No. 213611

with a certification pursuant to 21 U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to

foreseeable harm and injury to Novartis, a Delaware corporation.

         105.     This Court also has personal jurisdiction over Novugen because, on information

and belief, Novugen, upon approval of ANDA No. 213611, will commit or will aid, abet,

contribute to, or participate in future tortious acts of patent infringement permitted under ANDA

No. 213611 that will be purposefully directed at Delaware, including the marketing of the

Novugen ANDA Products in Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134

patents.

         106.     This Court also has personal jurisdiction over Novugen because, on information

and belief, Novugen’s affiliations with the State of Delaware are sufficiently continuous and

systematic as to render Novugen essentially at home in this forum.

         107.     Novugen, the entity identified in the Novugen Notice Letter as having submitted

ANDA No. 213611, has agreed with Novartis to litigate this action in Delaware and not to

contest personal jurisdiction or venue in Delaware in this action.

         108.     For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Novugen.



                                                   25
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        26 of 31
                                                              65 of 70 #: 26
                                                                 PageID



         109.     Venue is proper in this Court because Novugen is a foreign entity who may be

sued in any judicial district, including Delaware. 28 U.S.C. § 1391(c)(3).

         f.       Zydus Pharmaceuticals (USA) Inc.; Cadila Healthcare Ltd.
                  (ANDA No. 213719)

         110.     This Court has personal jurisdiction over Zydus Pharmaceuticals (USA) Inc. and

Cadila Healthcare Ltd. because, on information and belief, each such Defendant has committed

or has aided, abetted, contributed to, or participated in the commission of tortious acts of patent

infringement in preparing and submitting ANDA No. 213719 with a certification pursuant to 21

U.S.C. § 355(j)(2)(A)(vii)(IV), which acts have led to foreseeable harm and injury to Novartis, a

Delaware corporation.

         111.     This Court also has personal jurisdiction over Zydus Pharmaceuticals (USA) Inc.

and Cadila Healthcare Ltd. because, on information and belief, each such Defendant, upon

approval of ANDA No. 213719, will commit or will aid, abet, contribute to, or participate in

future tortious acts of patent infringement permitted under ANDA No. 213719 that will be

purposefully directed at Delaware, including the marketing of the Zydus ANDA Products in

Delaware, prior to the expiration of the ’659, ’331, ’938, and ’134 patents.

         112.     This Court also has personal jurisdiction over Zydus Pharmaceuticals (USA) Inc.

and Cadila Healthcare Ltd. because, on information and belief, each such Defendant’s

affiliations with the State of Delaware are sufficiently continuous and systematic as to render

each such Defendant essentially at home in this forum.

         113.     This Court also has personal jurisdiction over Zydus Pharmaceuticals (USA) Inc.

and Cadila Healthcare Ltd. because each such Defendant has availed itself of the legal

protections of the State of Delaware, by admitting jurisdiction and asserting counterclaims in

lawsuits filed in the United States District Court for the District of Delaware.

                                                 26
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        27 of 32
                                                              65 of 70 #: 27
                                                                 PageID



         114.     Zydus Pharmaceuticals (USA) Inc., the entity identified in the Zydus Notice

Letter as having submitted ANDA No. 213719, has agreed with Novartis to litigate this action in

Delaware and not to contest personal jurisdiction or venue in Delaware in this action.

         115.     For these reasons, and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Zydus Pharmaceuticals (USA)

Inc. and Cadila Healthcare Ltd.

         116.     Venue is proper in this Court because Zydus Pharmaceuticals (USA) Inc. has

consented to venue in Delaware for the purposes of this action and because Cadila Healthcare

Ltd. is a foreign entity who may be sued in any judicial district, including Delaware. 28 U.S.C.

§ 1400(b); 28 U.S.C. § 1391(c)(3).

                           THE PATENTS-IN-SUIT AND ENTRESTO®

         117.     Novartis is the owner of the ’659 patent, titled “Methods of treatment and

pharmaceutical composition.” The ’659 patent was duly and legally issued on January 24, 2012.

A true and correct copy of the ’659 patent is attached hereto as Exhibit A.

         118.     The ’659 patent claims, inter alia, a pharmaceutical composition comprising (i)

valsartan or a pharmaceutically acceptable salt thereof; (ii) sacubitril or sacubitrilat or a

pharmaceutically acceptable salt thereof; and (iii) a pharmaceutically acceptable carrier; wherein

(i) and (ii) are administered in combination in about a 1:1 ratio.

         119.     Novartis is the owner of the ’331 patent, titled “Methods of treatment and

pharmaceutical composition.” The ’331 patent was duly and legally issued on August 5, 2014.

A true and correct copy of the ’331 patent is attached hereto as Exhibit B.

         120.     The ’331 patent claims, inter alia, a method for the treatment of heart failure or

hypertension, comprising administering to a patient in need thereof a therapeutically effective


                                                   27
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        28 of 33
                                                              65 of 70 #: 28
                                                                 PageID



amount of the combination of (i) valsartan or a pharmaceutically acceptable salt thereof; and (ii)

sacubitril or sacubitrilat or a pharmaceutically acceptable salt thereof; wherein (i) and (ii) are

administered in one unit dose form or in two separate unit dose forms.

         121.     Novartis is the owner of the ’938 patent, titled “Compounds containing S-N-

valeryl-N-{[2′-(1H-tetrazole-5-yl)-biphenyl-4-yl]-methyl}-valine and (2R,4S)-5-biphenyl-4-yl-4-

(3-carboxy-propionylamino)-2-methyl-pentanoic acid ethyl ester moieties and cations.” The

’938 patent was duly and legally issued on November 4, 2014. A true and correct copy of the

’938 patent is attached hereto as Exhibit C.

         122.     The ’938 patent claims, inter alia, trisodium [3-((1S,3R)-1-biphenyl-4-ylmethyl-

3-ethoxycarbonyl-1-butylcarbamoyl)propionate-(S)-3′-methyl-2′-(pentanoyl{2″-(tetrazol-5-

ylate)biphenyl-4′-ylmethyl}amino)butyrate] hemipentahydrate (“sacubitril/valsartan trisodium

hemipentahydrate complex”) in crystalline form.

         123.     Novartis is the owner of the ’134 patent, titled “Compounds containing S-N-

valeryl-N-{[2′-(1H-tetrazole-5-yl)-biphenyl-4-yl]-methyl}-valine and (2R,4S)-5-biphenyl-4-yl-4-

(3-carboxy-propionylamino)-2-methyl-pentanoic acid ethyl ester moieties and cations.” The

’134 patent was duly and legally issued on July 12, 2016. A true and correct copy of the ’134

patent is attached hereto as Exhibit D.

         124.     The ’134 patent claims, inter alia, a method for the treatment of heart failure or

hypertension, in a patient in need thereof comprising administering to the patient a

therapeutically effective amount of a sacubitril/valsartan trisodium hemipentahydrate complex.

         125.     Novartis is the holder of New Drug Application (“NDA”) No. 207620 by which

the FDA granted approval for the commercial manufacturing, marketing, sale, and use of

ENTRESTO® (sacubitril and valsartan) tablets, 24 mg/26 mg, 49 mg/51 mg, and 97 mg/103 mg.


                                                   28
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        29 of 34
                                                              65 of 70 #: 29
                                                                 PageID



ENTRESTO® currently is indicated to reduce the risk of cardiovascular death and hospitalization

for heart failure in patients with chronic heart failure (NYHA Class II-IV) and reduced ejection

fraction, and for the treatment of symptomatic heart failure with systemic left ventricular systolic

dysfunction in pediatric patients aged one year and older.

         126.     One or more claims of each of the ’659, ’331, ’938, and ’134 patents cover

ENTRESTO® and/or the use thereof.

         127.     The FDA’s official publication of approved drugs (the “Orange Book”) lists the

’659, ’331, ’938, and ’134 patents in connection with ENTRESTO®.

          INFRINGEMENT BY EACH DEFENDANT OF THE PATENTS-IN-SUIT

         128.     Novartis incorporates paragraphs 1 – 77 and 117 – 127 as if fully set forth herein.

         a.       Dr. Reddy’s Laboratories, Inc.; Dr. Reddy’s Laboratories, Ltd.
                  (ANDA No. 213627)

         129.     On information and belief, Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s

Laboratories, Ltd. submitted to the FDA ANDA No. 213627 under the provisions of 21 U.S.C.

§ 355(j) seeking approval to engage in the commercial manufacture, use, sale, offer for sale,

and/or importation of the Dr. Reddy’s ANDA Products prior to the expiration of the ’659, ’331,

’938, and ’134 patents.

         130.     This action was commenced within 45 days of Novartis’s receipt of the Dr.

Reddy’s Notice Letter.

         131.     By filing their ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Dr. Reddy’s ANDA Products in or into the United States prior to the expiration of the ’659,

’331, ’938, and ’134 patents, Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd.

have committed an act of infringement under 35 U.S.C. § 271(e)(2).

                                                   29
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        30 of 35
                                                              65 of 70 #: 30
                                                                 PageID



         132.     On information and belief, when Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s

Laboratories, Ltd. filed ANDA No. 213627, Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s

Laboratories, Ltd. were aware of the ’659, ’331, ’938, and ’134 patents and that the filing of the

ANDA with the request for its approval prior to the expiration of the ’659, ’331, ’938, and ’134

patents was an act of infringement of those patents.

         133.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Dr. Reddy’s ANDA Products in or into the United States will infringe

one or more claims of the ’659, ’331, ’938, and ’134 patents.

         134.     The Dr. Reddy’s Notice Letter does not deny that the Dr. Reddy’s ANDA

products would infringe claims 1-4 of the ’659 patent, and that the use of the Dr. Reddy’s ANDA

Products would infringe claims 1, 2, and 4-8 of the ’331 patent.

         135.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Dr. Reddy’s ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

         136.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Dr. Reddy’s ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

         137.     On information and belief, the Dr. Reddy’s ANDA Products, if approved, will

contain instructions for practicing a method for the treatment of heart failure comprising

administering to a patient in need thereof a therapeutically effective amount of

sacubitril/valsartan or their pharmaceutically acceptable salts, which administration will

constitute direct infringement of one or more claims of the ’331 patent. On information and

belief, if the Dr. Reddy’s ANDA Products are approved, physicians and/or patients following


                                                  30
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        31 of 36
                                                              65 of 70 #: 31
                                                                 PageID



said instructions will directly infringe one or more claims of the ’331 patent. On information and

belief, if the Dr. Reddy’s ANDA Products are approved, Dr. Reddy’s Laboratories, Inc. and/or

Dr. Reddy’s Laboratories, Ltd. will actively encourage, recommend, or promote this

infringement with knowledge of the ’331 patent, and with knowledge and intent that their acts

will induce infringement of one or more claims of the ’331 patent.

         138.     On information and belief, if the Dr. Reddy’s ANDA Products are approved, Dr.

Reddy’s Laboratories, Inc. and/or Dr. Reddy’s Laboratories, Ltd. will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure comprising administering to a patient in

need thereof a therapeutically effective amount of sacubitril/valsartan or their pharmaceutically

acceptable salts, as recited in one or more claims of the ’331 patent. On information and belief,

if the Dr. Reddy’s ANDA Products are approved, those products will constitute a material part of

a method for the treatment of heart failure comprising administering to a patient in need thereof a

therapeutically effective amount of sacubitril/valsartan or their pharmaceutically acceptable salts,

as recited in one or more claims of the ’331 patent. On information and belief, if the Dr. Reddy’s

ANDA Products are approved, physicians and/or patients following the instructions in the Dr.

Reddy’s ANDA Products will directly infringe one or more claims of the ’331 patent. On

information and belief, if the Dr. Reddy’s ANDA Products are approved, Dr. Reddy’s

Laboratories, Inc. and/or Dr. Reddy’s Laboratories, Ltd. will contributorily infringe one or more

claims of the ’331 patent, and will do so with knowledge of the ’331 patent, and that the Dr.

Reddy’s ANDA Products are especially made or especially adapted for use in infringing one or

more claims of the ’331 patent and are not suitable for a substantial noninfringing use.




                                                 31
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        32 of 37
                                                              65 of 70 #: 32
                                                                 PageID



         139.     On information and belief, the Dr. Reddy’s ANDA Products, if approved, will

contain instructions for practicing a method for the treatment of heart failure in a patient in need

thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Dr. Reddy’s ANDA Products are approved, physicians and/or patients following said

instructions will directly infringe one or more claims of the ’134 patent. On information and

belief, if the Dr. Reddy’s ANDA Products are approved, Dr. Reddy’s Laboratories, Inc. and/or

Dr. Reddy’s Laboratories, Ltd. will actively encourage, recommend, or promote this

infringement with knowledge of the ’134 patent, and with knowledge and intent that their acts

will induce infringement of one or more claims of the ’134 patent.

         140.     On information and belief, if the Dr. Reddy’s ANDA Products are approved, Dr.

Reddy’s Laboratories, Inc. and/or Dr. Reddy’s Laboratories, Ltd. will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Dr. Reddy’s ANDA Products are approved, those products will constitute a

material part of a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Dr. Reddy’s ANDA Products are approved, physicians and/or patients

following the instructions in the Dr. Reddy’s ANDA Products will directly infringe one or more


                                                 32
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        33 of 38
                                                              65 of 70 #: 33
                                                                 PageID



claims of the ’134 patent. On information and belief, if the Dr. Reddy’s ANDA Products are

approved, Dr. Reddy’s Laboratories, Inc. and/or Dr. Reddy’s Laboratories, Ltd. will

contributorily infringe one or more claims of the ’134 patent, and will do so with knowledge of

the ’134 patent, and that the Dr. Reddy’s ANDA Products are especially made or especially

adapted for use in infringing one or more claims of the ’134 patent and are not suitable for a

substantial noninfringing use.

         141.     Novartis will be substantially and irreparably damaged by Dr. Reddy’s

Laboratories, Inc.’s and/or Dr. Reddy’s Laboratories, Ltd.’s infringement of the ’659, ’331, ’938,

and ’134 patents.

         142.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213627 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Dr. Reddy’s ANDA Products and any act

committed by Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd. with respect to

the subject matter claimed in the ’659, ’331, ’938, and ’134 patents, which act is not within the

limited exclusions of 35 U.S.C. § 271(e)(1).

         143.     On information and belief, Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s

Laboratories, Ltd. have taken and continue to take active steps towards the commercial

manufacture, use, sale, offer for sale, and/or importation of the Dr. Reddy’s ANDA Products,

including seeking approval of those products under ANDA No. 213627.


                                                   33
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        34 of 39
                                                              65 of 70 #: 34
                                                                 PageID



         144.     There is a substantial and immediate controversy between Novartis and Dr.

Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd. concerning the ’659, ’331, ’938,

and ’134 patents. Novartis is entitled to declaratory judgment under 28 U.S.C. §§ 2201 and 2202

that Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd. will infringe, induce

infringement of, and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and

’134 patents.

         b.       Hetero USA Inc.; Hetero Labs Limited; Hetero Labs Limited Unit III
                  (ANDA No. 213668)

         145.     On information and belief, Hetero USA Inc., Hetero Labs Limited, and Hetero

Labs Limited Unit III submitted to the FDA ANDA No. 213668 under the provisions of 21

U.S.C. § 355(j) seeking approval to engage in the commercial manufacture, use, sale, offer for

sale, and/or importation of the Hetero ANDA Products prior to the expiration of the ’659, ’331,

’938, and ’134 patents.

         146.     This action was commenced within 45 days of Novartis’s receipt of the Hetero

Notice Letter.

         147.     By filing their ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Hetero ANDA Products in or into the United States prior to the expiration of the ’659, ’331,

’938, and ’134 patents, Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III

have committed an act of infringement under 35 U.S.C. § 271(e)(2).

         148.     On information and belief, when Hetero USA Inc., Hetero Labs Limited, and

Hetero Labs Limited Unit III filed ANDA No. 213668, Hetero USA Inc., Hetero Labs Limited,

and Hetero Labs Limited Unit III were aware of the ’659, ’331, ’938, and ’134 patents and that



                                                 34
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        35 of 40
                                                              65 of 70 #: 35
                                                                 PageID



the filing of the ANDA with the request for its approval prior to the expiration of the ’659, ’331,

’938, and ’134 patents was an act of infringement of those patents.

         149.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Hetero ANDA Products in or into the United States will infringe one or

more claims of the ’659, ’331, ’938, and ’134 patents.

         150.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Hetero ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

         151.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Hetero ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

         152.     On information and belief, the Hetero ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure comprising administering to

a patient in need thereof a therapeutically effective amount of sacubitril/valsartan or their

pharmaceutically acceptable salts, which administration will constitute direct infringement of

one or more claims of the ’331 patent. On information and belief, if the Hetero ANDA Products

are approved, physicians and/or patients following said instructions will directly infringe one or

more claims of the ’331 patent. On information and belief, if the Hetero ANDA Products are

approved, Hetero USA Inc., Hetero Labs Limited, and/or Hetero Labs Limited Unit III will

actively encourage, recommend, or promote this infringement with knowledge of the ’331

patent, and with knowledge and intent that their acts will induce infringement of one or more

claims of the ’331 patent.




                                                  35
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        36 of 41
                                                              65 of 70 #: 36
                                                                 PageID



         153.     On information and belief, if the Hetero ANDA Products are approved, Hetero

USA Inc., Hetero Labs Limited, and/or Hetero Labs Limited Unit III will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure comprising administering to a patient in

need thereof a therapeutically effective amount of sacubitril/valsartan or their pharmaceutically

acceptable salts, as recited in one or more claims of the ’331 patent. On information and belief,

if the Hetero ANDA Products are approved, those products will constitute a material part of a

method for the treatment of heart failure comprising administering to a patient in need thereof a

therapeutically effective amount of sacubitril/valsartan or their pharmaceutically acceptable salts,

as recited in one or more claims of the ’331 patent. On information and belief, if the Hetero

ANDA Products are approved, physicians and/or patients following the instructions in the Hetero

ANDA Products will directly infringe one or more claims of the ’331 patent. On information

and belief, if the Hetero ANDA Products are approved, Hetero USA Inc., Hetero Labs Limited,

and/or Hetero Labs Limited Unit III will contributorily infringe one or more claims of the ’331

patent, and will do so with knowledge of the ’331 patent, and that the Hetero ANDA Products

are especially made or especially adapted for use in infringing one or more claims of the ’331

patent and are not suitable for a substantial noninfringing use.

         154.     On information and belief, the Hetero ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure in a patient in need thereof

comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Hetero ANDA Products are approved, physicians and/or patients following said instructions will


                                                 36
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        37 of 42
                                                              65 of 70 #: 37
                                                                 PageID



directly infringe one or more claims of the ’134 patent. On information and belief, if the Hetero

ANDA Products are approved, Hetero USA Inc., Hetero Labs Limited, and/or Hetero Labs

Limited Unit III will actively encourage, recommend, or promote this infringement with

knowledge of the ’134 patent, and with knowledge and intent that their acts will induce

infringement of one or more claims of the ’134 patent.

         155.     On information and belief, if the Hetero ANDA Products are approved, Hetero

USA Inc., Hetero Labs Limited, and/or Hetero Labs Limited Unit III will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Hetero ANDA Products are approved, those products will constitute a material

part of a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Hetero ANDA Products are approved, physicians and/or patients following the

instructions in the Hetero ANDA Products will directly infringe one or more claims of the ’134

patent. On information and belief, if the Hetero ANDA Products are approved, Hetero USA Inc.,

Hetero Labs Limited, and/or Hetero Labs Limited Unit III will contributorily infringe one or

more claims of the ’134 patent, and will do so with knowledge of the ’134 patent, and that the

Hetero ANDA Products are especially made or especially adapted for use in infringing one or

more claims of the ’134 patent and are not suitable for a substantial noninfringing use.




                                                37
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        38 of 43
                                                              65 of 70 #: 38
                                                                 PageID



         156.     Novartis will be substantially and irreparably damaged by Hetero USA Inc.’s,

Hetero Labs Limited’s, and Hetero Labs Limited Unit III’s infringement of the ’659, ’331, ’938,

and ’134 patents.

         157.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213668 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Hetero ANDA Products and any act committed

by Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III with respect to the

subject matter claimed in the ’659, ’331, ’938, and ’134 patents, which act is not within the

limited exclusions of 35 U.S.C. § 271(e)(1).

         158.     On information and belief, Hetero USA Inc., Hetero Labs Limited, and Hetero

Labs Limited Unit III have taken and continue to take active steps towards the commercial

manufacture, use, sale, offer for sale, and/or importation of the Hetero ANDA Products,

including seeking approval of those products under ANDA No. 213668.

         159.     There is a substantial and immediate controversy between Novartis and Hetero

USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III concerning the ’659, ’331,

’938, and ’134 patents. Novartis is entitled to declaratory judgment under 28 U.S.C. §§ 2201

and 2202 that Hetero USA Inc., Hetero Labs Limited, and Hetero Labs Limited Unit III will

infringe, induce infringement of, and/or contributorily infringe one or more claims of the ’659,

’331, ’938, and ’134 patents.


                                                   38
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        39 of 44
                                                              65 of 70 #: 39
                                                                 PageID



         c.       MSN Pharmaceuticals Inc.; MSN Laboratories Private Limited;
                  MSN Life Sciences Private Limited
                  (ANDA No. 213748)

         160.     On information and belief, MSN Pharmaceuticals Inc. and MSN Laboratories

Private Limited, by themselves or in concert with MSN Life Sciences Private Limited, submitted

to the FDA ANDA No. 213748 under the provisions of 21 U.S.C. § 355(j) seeking approval to

engage in the commercial manufacture, use, sale, offer for sale, and/or importation of the MSN

ANDA Products prior to the expiration of the ’659, ’331, ’938, and ’134 patents.

         161.     This action was commenced within 45 days of Novartis’s receipt of the MSN

Notice Letter.

         162.     By filing their ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the MSN ANDA Products in or into the United States prior to the expiration of the ’659, ’331,

’938, and ’134 patents, MSN Pharmaceuticals Inc. and MSN Laboratories Private Limited, and,

on information and belief, MSN Life Sciences Private Limited, have committed an act of

infringement under 35 U.S.C. § 271(e)(2).

         163.     On information and belief, when MSN Pharmaceuticals Inc. and MSN

Laboratories Private Limited filed ANDA No. 213748, MSN Pharmaceuticals Inc., MSN

Laboratories Private Limited, and MSN Life Sciences Private Limited were aware of the ’659,

’331, ’938, and ’134 patents and that the filing of the ANDA with the request for its approval

prior to the expiration of the ’659, ’331, ’938, and ’134 patents was an act of infringement of

those patents.




                                                 39
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        40 of 45
                                                              65 of 70 #: 40
                                                                 PageID



         164.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the MSN ANDA Products in or into the United States will infringe one or

more claims of the ’659, ’331, ’938, and ’134 patents.

         165.     The MSN Notice Letter does not deny that the MSN ANDA Products would

infringe claims 1-4 of the ’659 patent, and that the use of the MSN ANDA Products would

infringe claims 1-10 of the ’331 patent.

         166.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the MSN ANDA Products in or into the United States will directly infringe

one or more claims of the ’659 patent.

         167.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the MSN ANDA Products in or into the United States will directly infringe

one more claims of the ’938 patent.

         168.     On information and belief, the MSN ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure comprising administering to

a patient in need thereof a therapeutically effective amount of sacubitril/valsartan or their

pharmaceutically acceptable salts, which administration will constitute direct infringement of

one or more claims of the ’331 patent. On information and belief, if the MSN ANDA Products

are approved, physicians and/or patients following said instructions will directly infringe one or

more claims of the ’331 patent. On information and belief, if the MSN ANDA Products are

approved, MSN Pharmaceuticals Inc., MSN Laboratories Private Limited, and/or MSN Life

Sciences Private Limited will actively encourage, recommend, or promote this infringement with

knowledge of the ’331 patent, and with knowledge and intent that their acts will induce

infringement of one or more claims of the ’331 patent.


                                                  40
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        41 of 46
                                                              65 of 70 #: 41
                                                                 PageID



         169.     On information and belief, if the MSN ANDA Products are approved, MSN

Pharmaceuticals Inc., MSN Laboratories Private Limited, and/or MSN Life Sciences Private

Limited will commercially manufacture, sell, offer for sale, and/or import those products, which

will be specifically labeled for use in a method for the treatment of heart failure comprising

administering to a patient in need thereof a therapeutically effective amount of

sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in one or more claims of

the ’331 patent. On information and belief, if the MSN ANDA Products are approved, those

products will constitute a material part of a method for the treatment of heart failure comprising

administering to a patient in need thereof a therapeutically effective amount of

sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in one or more claims of

the ’331 patent. On information and belief, if the MSN ANDA Products are approved,

physicians and/or patients following the instructions in the MSN ANDA Products will directly

infringe one or more claims of the ’331 patent. On information and belief, if the MSN ANDA

Products are approved, MSN Pharmaceuticals Inc., MSN Laboratories Private Limited, and/or

MSN Life Sciences Private Limited will contributorily infringe one or more claims of the ’331

patent, and will do so with knowledge of the ’331 patent, and that the MSN ANDA Products are

especially made or especially adapted for use in infringing one or more claims of the ’331 patent

and are not suitable for a substantial noninfringing use.

         170.     On information and belief, the MSN ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure in a patient in need thereof

comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the


                                                 41
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        42 of 47
                                                              65 of 70 #: 42
                                                                 PageID



MSN ANDA Products are approved, physicians and/or patients following said instructions will

directly infringe one or more claims of the ’134 patent. On information and belief, if the MSN

ANDA Products are approved, MSN Pharmaceuticals Inc., MSN Laboratories Private Limited,

and/or MSN Life Sciences Private Limited will actively encourage, recommend, or promote this

infringement with knowledge of the ’134 patent, and with knowledge and intent that their acts

will induce infringement of one or more claims of the ’134 patent.

         171.     On information and belief, if the MSN ANDA Products are approved, MSN

Pharmaceuticals Inc., MSN Laboratories Private Limited, and/or MSN Life Sciences Private

Limited will commercially manufacture, sell, offer for sale, and/or import those products, which

will be specifically labeled for use in a method for the treatment of heart failure in a patient in

need thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, as recited in one or more claims of the

’134 patent. On information and belief, if the MSN ANDA Products are approved, those

products will constitute a material part of a method for the treatment of heart failure in a patient

in need thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, as recited in one or more claims of the

’134 patent. On information and belief, if the MSN ANDA Products are approved, physicians

and/or patients following the instructions in the MSN ANDA Products will directly infringe one

or more claims of the ’134 patent. On information and belief, if the MSN ANDA Products are

approved, MSN Pharmaceuticals Inc., MSN Laboratories Private Limited, and/or MSN Life

Sciences Private Limited will contributorily infringe one or more claims of the ’134 patent, and

will do so with knowledge of the ’134 patent, and that the MSN ANDA Products are especially




                                                  42
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        43 of 48
                                                              65 of 70 #: 43
                                                                 PageID



made or especially adapted for use in infringing one or more claims of the ’134 patent and are

not suitable for a substantial noninfringing use.

         172.     Novartis will be substantially and irreparably damaged by MSN Pharmaceuticals

Inc.’s, MSN Laboratories Private Limited’s, and MSN Life Sciences Private Limited’s

infringement of the ’659, ’331, ’938, and ’134 patents.

         173.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213748 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the MSN ANDA Products and any act committed by

MSN Pharmaceuticals Inc., MSN Laboratories Private Limited, and MSN Life Sciences Private

Limited with respect to the subject matter claimed in the ’659, ’331, ’938, and ’134 patents,

which act is not within the limited exclusions of 35 U.S.C. § 271(e)(1).

         174.     On information and belief, MSN Pharmaceuticals Inc., MSN Laboratories Private

Limited, and MSN Life Sciences Private Limited have taken and continue to take active steps

towards the commercial manufacture, use, sale, offer for sale, and/or importation of the MSN

ANDA Products, including seeking approval of those products under ANDA No. 213748.

         175.     There is a substantial and immediate controversy between Novartis and MSN

Pharmaceuticals Inc., MSN Laboratories Private Limited, and MSN Life Sciences Private

Limited concerning the ’659, ’331, ’938, and ’134 patents. Novartis is entitled to declaratory

judgment under 28 U.S.C. §§ 2201 and 2202 that MSN Pharmaceuticals Inc., MSN Laboratories


                                                    43
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        44 of 49
                                                              65 of 70 #: 44
                                                                 PageID



Private Limited, and MSN Life Sciences Private Limited will infringe, induce infringement of,

and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents.

         d.       Mylan Pharmaceuticals Inc.; Mylan Inc.; Mylan Laboratories Limited
                  (ANDA No. 213646)

         176.     On information and belief, Mylan Pharmaceuticals Inc., by itself or in concert

with Mylan Inc. and Mylan Laboratories Limited, submitted to the FDA ANDA No. 213646

under the provisions of 21 U.S.C. § 355(j) seeking approval to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Mylan ANDA Products prior to

the expiration of the ’659, ’331, ’938, and ’134 patents.

         177.     This action was commenced within 45 days of Novartis’s receipt of the Mylan

Notice Letter.

         178.     By filing their ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Mylan ANDA Products in or into the United States prior to the expiration of the ’659, ’331,

’938, and ’134 patents, Mylan Pharmaceuticals Inc., and, on information and belief, Mylan Inc.

and Mylan Laboratories Limited have committed an act of infringement under 35 U.S.C. §

271(e)(2).

         179.     On information and belief, when Mylan Pharmaceuticals Inc. filed ANDA No.

213646, Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited were aware

of the ’659, ’331, ’938, and ’134 patents and that the filing of the ANDA with the request for its

approval prior to the expiration of the ’659, ’331, ’938, and ’134 patents was an act of

infringement of those patents.




                                                  44
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        45 of 50
                                                              65 of 70 #: 45
                                                                 PageID



         180.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Mylan ANDA Products in or into the United States will infringe one or

more claims of the ’659, ’331, ’938, and ’134 patents.

         181.     The Mylan Notice Letter does not deny that the Mylan ANDA Products would

infringe claims 1-4 of the ’659 patent, and that the use of the Mylan ANDA Products would

infringe claims 1, 2 and 5-8 of the ’331 patent.

         182.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Mylan ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

         183.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Mylan ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

         184.     On information and belief, the Mylan ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure comprising administering to

a patient in need thereof a therapeutically effective amount of sacubitril/valsartan or their

pharmaceutically acceptable salts, which administration will constitute direct infringement of

one or more claims of the ’331 patent. On information and belief, if the Mylan ANDA Products

are approved, physicians and/or patients following said instructions will directly infringe one or

more claims of the ’331 patent. On information and belief, if the Mylan ANDA Products are

approved, Mylan Pharmaceuticals Inc., Mylan Inc., and/or Mylan Laboratories Limited will

actively encourage, recommend, or promote this infringement with knowledge of the ’331

patent, and with knowledge and intent that their acts will induce infringement of one or more

claims of the ’331 patent.


                                                   45
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        46 of 51
                                                              65 of 70 #: 46
                                                                 PageID



         185.     On information and belief, if the Mylan ANDA Products are approved, Mylan

Pharmaceuticals Inc., Mylan Inc., and/or Mylan Laboratories Limited will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure comprising administering to a patient in

need thereof a therapeutically effective amount of sacubitril/valsartan or their pharmaceutically

acceptable salts, as recited in one or more claims of the ’331 patent. On information and belief,

if the Mylan ANDA Products are approved, those products will constitute a material part of a

method for the treatment of heart failure comprising administering to a patient in need thereof a

therapeutically effective amount of sacubitril/valsartan or their pharmaceutically acceptable salts,

as recited in one or more claims of the ’331 patent. On information and belief, if the Mylan

ANDA Products are approved, physicians and/or patients following the instructions in the Mylan

ANDA Products will directly infringe one or more claims of the ’331 patent. On information

and belief, if the Mylan ANDA Products are approved, Mylan Pharmaceuticals Inc., Mylan Inc.,

and/or Mylan Laboratories Limited will contributorily infringe one or more claims of the ’331

patent, and will do so with knowledge of the ’331 patent, and that the Mylan ANDA Products are

especially made or especially adapted for use in infringing one or more claims of the ’331 patent

and are not suitable for a substantial noninfringing use.

         186.     On information and belief, the Mylan ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure in a patient in need thereof

comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Mylan ANDA Products are approved, physicians and/or patients following said instructions will


                                                 46
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        47 of 52
                                                              65 of 70 #: 47
                                                                 PageID



directly infringe one or more claims of the ’134 patent. On information and belief, if the Mylan

ANDA Products are approved, Mylan Pharmaceuticals Inc., Mylan Inc., and/or Mylan

Laboratories Limited will actively encourage, recommend, or promote this infringement with

knowledge of the ’134 patent, and with knowledge and intent that their acts will induce

infringement of one or more claims of the ’134 patent.

         187.     On information and belief, if the Mylan ANDA Products are approved, Mylan

Pharmaceuticals Inc., Mylan Inc., and/or Mylan Laboratories Limited will commercially

manufacture, sell, offer for sale, and/or import those products, which will be specifically labeled

for use in a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Mylan ANDA Products are approved, those products will constitute a material

part of a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Mylan ANDA Products are approved, physicians and/or patients following the

instructions in the Mylan ANDA Products will directly infringe one or more claims of the ’134

patent. On information and belief, if the Mylan ANDA Products are approved, Mylan

Pharmaceuticals Inc., Mylan Inc., and/or Mylan Laboratories Limited will contributorily infringe

one or more claims of the ’134 patent, and will do so with knowledge of the ’134 patent, and that

the Mylan ANDA Products are especially made or especially adapted for use in infringing one or

more claims of the ’134 patent and are not suitable for a substantial noninfringing use.




                                                47
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        48 of 53
                                                              65 of 70 #: 48
                                                                 PageID



         188.     Novartis will be substantially and irreparably damaged by Mylan Pharmaceuticals

Inc.’s, Mylan Inc.’s, and Mylan Laboratories Limited’s infringement of the ’659, ’331, ’938, and

’134 patents.

         189.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213646 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Mylan ANDA Products and any act committed by

Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited with respect to the

subject matter claimed in the ’659, ’331, ’938, and ’134 patents, which act is not within the

limited exclusions of 35 U.S.C. § 271(e)(1).

         190.     On information and belief, Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan

Laboratories Limited have taken and continue to take active steps towards the commercial

manufacture, use, sale, offer for sale, and/or importation of the Mylan ANDA Products,

including seeking approval of those products under ANDA No. 213646.

         191.     There is a substantial and immediate controversy between Novartis and Mylan

Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited concerning the ’659, ’331,

’938, and ’134 patents. Novartis is entitled to declaratory judgment under 28 U.S.C. §§ 2201

and 2202 that Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited will

infringe, induce infringement of, and/or contributorily infringe one or more claims of the ’659,

’331, ’938, and ’134 patents.


                                                   48
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        49 of 54
                                                              65 of 70 #: 49
                                                                 PageID



         e.       Novugen Pharma (Malaysia) Sdn. Bhd.
                  (ANDA No. 213611)

         192.     On information and belief, Novugen submitted to the FDA ANDA No. 213611

under the provisions of 21 U.S.C. § 355(j) seeking approval to engage in the commercial

manufacture, use, sale, offer for sale, and/or importation of the Novugen ANDA Products prior

to the expiration of the ’659, ’331, ’938, and ’134 patents.

         193.     This action was commenced within 45 days of Novartis’s receipt of the Novugen

Notice Letter.

         194.     By filing its ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Novugen ANDA Products in or into the United States prior to the expiration of the ’659,

’331, ’938, and ’134 patents, Novugen has committed an act of infringement under 35 U.S.C.

§ 271(e)(2).

         195.     On information and belief, when Novugen filed ANDA No. 213611, Novugen

was aware of the ’659, ’331, ’938, and ’134 patents and that the filing of the ANDA with the

request for its approval prior to the expiration of the ’659, ’331, ’938, and ’134 patents was an

act of infringement of those patents.

         196.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Novugen ANDA Products in or into the United States will infringe one

or more claims of the ’659, ’331, ’938, and ’134 patents.

         197.     The Novugen Notice Letter does not deny that use of the Novugen ANDA

Products would infringe claims 1, 2 and 5-8 of the ’331 patent on any basis other than the alleged

invalidity of those claims.



                                                  49
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        50 of 55
                                                              65 of 70 #: 50
                                                                 PageID



          198.    On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Novugen ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

          199.    On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Novugen ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

          200.    On information and belief, the Novugen ANDA Products, if approved, will

contain instructions for practicing a method for the treatment of heart failure comprising

administering to a patient in need thereof a therapeutically effective amount of

sacubitril/valsartan or their pharmaceutically acceptable salts, which administration will

constitute direct infringement of one or more claims of the ’331 patent. On information and

belief, if the Novugen ANDA Products are approved, physicians and/or patients following said

instructions will directly infringe one or more claims of the ’331 patent. On information and

belief, if the Novugen ANDA Products are approved, Novugen will actively encourage,

recommend, or promote this infringement with knowledge of the ’331 patent, and with

knowledge and intent that its acts will induce infringement of one or more claims of the ’331

patent.

          201.    On information and belief, if the Novugen ANDA Products are approved,

Novugen will commercially manufacture, sell, offer for sale, and/or import those products, which

will be specifically labeled for use in a method for the treatment of heart failure comprising

administering to a patient in need thereof a therapeutically effective amount of

sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in one or more claims of

the ’331 patent. On information and belief, if the Novugen ANDA Products are approved, those


                                                  50
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        51 of 56
                                                              65 of 70 #: 51
                                                                 PageID



products will constitute a material part of a method for the treatment of heart failure comprising

administering to a patient in need thereof a therapeutically effective amount of

sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in one or more claims of

the ’331 patent. On information and belief, if the Novugen ANDA Products are approved,

physicians and/or patients following the instructions in the Novugen ANDA Products will

directly infringe one or more claims of the ’331 patent. On information and belief, if the

Novugen ANDA Products are approved, Novugen will contributorily infringe one or more

claims of the ’331 patent, and will do so with knowledge of the ’331 patent, and that the

Novugen ANDA Products are especially made or especially adapted for use in infringing one or

more claims of the ’331 patent and are not suitable for a substantial noninfringing use.

         202.     On information and belief, the Novugen ANDA Products, if approved, will

contain instructions for practicing a method for the treatment of heart failure in a patient in need

thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Novugen ANDA Products are approved, physicians and/or patients following said instructions

will directly infringe one or more claims of the ’134 patent. On information and belief, if the

Novugen ANDA Products are approved, Novugen will actively encourage, recommend, or

promote this infringement with knowledge of the ’134 patent, and with knowledge and intent

that its acts will induce infringement of one or more claims of the ’134 patent.

         203.     On information and belief, if the Novugen ANDA Products are approved,

Novugen will commercially manufacture, sell, offer for sale, and/or import those products, which

will be specifically labeled for use in a method for the treatment of heart failure in a patient in


                                                  51
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        52 of 57
                                                              65 of 70 #: 52
                                                                 PageID



need thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, as recited in one or more claims of the

’134 patent. On information and belief, if the Novugen ANDA Products are approved, those

products will constitute a material part of a method for the treatment of heart failure in a patient

in need thereof comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, as recited in one or more claims of the

’134 patent. On information and belief, if the Novugen ANDA Products are approved,

physicians and/or patients following the instructions in the Novugen ANDA Products will

directly infringe one or more claims of the ’134 patent. On information and belief, if the

Novugen ANDA Products are approved, Novugen will contributorily infringe one or more

claims of the ’134 patent, and will do so with knowledge of the ’134 patent, and that the

Novugen ANDA Products are especially made or especially adapted for use in infringing one or

more claims of the ’134 patent and are not suitable for a substantial noninfringing use.

         204.     Novartis will be substantially and irreparably damaged by Novugen’s

infringement of the ’659, ’331, ’938, and ’134 patents.

         205.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213611 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Novugen ANDA Products and any act committed




                                                   52
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        53 of 58
                                                              65 of 70 #: 53
                                                                 PageID



by Novugen with respect to the subject matter claimed in the ’659, ’331, ’938, and ’134 patents,

which act is not within the limited exclusions of 35 U.S.C. § 271(e)(1).

         206.     On information and belief, Novugen has taken and continues to take active steps

towards the commercial manufacture, use, sale, offer for sale, and/or importation of the Novugen

ANDA Products, including seeking approval of those products under ANDA No. 213611.

         207.     There is a substantial and immediate controversy between Novartis and Novugen

concerning the ’659, ’331, ’938, and ’134 patents. Novartis is entitled to declaratory judgment

under 28 U.S.C. §§ 2201 and 2202 that Novugen will infringe, induce infringement of, and/or

contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents.

         f.       Zydus Pharmaceuticals (USA) Inc.; Cadila Healthcare Ltd.
                  (ANDA No. 213719)

         208.     On information and belief, Zydus Pharmaceuticals (USA) Inc., by itself or in

concert with Cadila Healthcare Ltd., submitted to the FDA ANDA No. 213719 under the

provisions of 21 U.S.C. § 355(j) seeking approval to engage in the commercial manufacture, use,

sale, offer for sale, and/or importation of the Zydus ANDA Products prior to the expiration of the

’659, ’331, ’938, and ’134 patents.

         209.     This action was commenced within 45 days of Novartis’s receipt of the Zydus

Notice Letter.

         210.     By filing their ANDA under 21 U.S.C. § 355(j) for the purpose of obtaining

approval to engage in the commercial manufacture, use, sale, offer for sale, and/or importation of

the Zydus ANDA Products in or into the United States prior to the expiration of the ’659, ’331,

’938, and ’134 patents, Zydus Pharmaceuticals (USA) Inc., and, on information and belief,

Cadila Healthcare Ltd., have committed an act of infringement under 35 U.S.C. § 271(e)(2).



                                                  53
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        54 of 59
                                                              65 of 70 #: 54
                                                                 PageID



         211.     On information and belief, when Zydus Pharmaceuticals (USA) Inc. filed ANDA

No. 213719, Zydus Pharmaceuticals (USA) Inc. and Cadila Healthcare Ltd. were aware of the

’659, ’331, ’938, and ’134 patents and that the filing of the ANDA with the request for its

approval prior to the expiration of the ’659, ’331, ’938, and ’134 patents was an act of

infringement of those patents.

         212.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Zydus ANDA Products in or into the United States will infringe one or

more claims of the ’659, ’331, ’938, and ’134 patents.

         213.     The Zydus Notice Letter does not deny that use of the Zydus ANDA Products

would infringe claims 1, 2 and 5-8 of the ’331 patent on any basis other than the alleged

invalidity of those claims.

         214.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Zydus ANDA Products in or into the United States will directly

infringe one or more claims of the ’659 patent.

         215.     On information and belief, the commercial manufacture, use, sale, offer for sale,

and/or importation of the Zydus ANDA Products in or into the United States will directly

infringe one more claims of the ’938 patent.

         216.     On information and belief, the Zydus ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure comprising administering to

a patient in need thereof a therapeutically effective amount of sacubitril/valsartan or their

pharmaceutically acceptable salts, which administration will constitute direct infringement of

one or more claims of the ’331 patent. On information and belief, if the Zydus ANDA Products

are approved, physicians and/or patients following said instructions will directly infringe one or


                                                  54
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        55 of 60
                                                              65 of 70 #: 55
                                                                 PageID



more claims of the ’331 patent. On information and belief, if the Zydus ANDA Products are

approved, Zydus Pharmaceuticals (USA) Inc. and/or Cadila Healthcare Ltd. will actively

encourage, recommend, or promote this infringement with knowledge of the ’331 patent, and

with knowledge and intent that their acts will induce infringement of one or more claims of the

’331 patent.

         217.     On information and belief, if the Zydus ANDA Products are approved, Zydus

Pharmaceuticals (USA) Inc. and/or Cadila Healthcare Ltd. will commercially manufacture, sell,

offer for sale, and/or import those products, which will be specifically labeled for use in a

method for the treatment of heart failure comprising administering to a patient in need thereof a

therapeutically effective amount of sacubitril/valsartan or their pharmaceutically acceptable salts,

as recited in one or more claims of the ’331 patent. On information and belief, if the Zydus

ANDA Products are approved, those products will constitute a material part of a method for the

treatment of heart failure comprising administering to a patient in need thereof a therapeutically

effective amount of sacubitril/valsartan or their pharmaceutically acceptable salts, as recited in

one or more claims of the ’331 patent. On information and belief, if the Zydus ANDA Products

are approved, physicians and/or patients following the instructions in the Zydus ANDA Products

will directly infringe one or more claims of the ’331 patent. On information and belief, if the

Zydus ANDA Products are approved, Zydus Pharmaceuticals (USA) Inc. and/or Cadila

Healthcare Ltd. will contributorily infringe one or more claims of the ’331 patent, and will do so

with knowledge of the ’331 patent, and that the Zydus ANDA Products are especially made or

especially adapted for use in infringing one or more claims of the ’331 patent and are not suitable

for a substantial noninfringing use.




                                                 55
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        56 of 61
                                                              65 of 70 #: 56
                                                                 PageID



         218.     On information and belief, the Zydus ANDA Products, if approved, will contain

instructions for practicing a method for the treatment of heart failure in a patient in need thereof

comprising administering to the patient a therapeutically effective amount of a

sacubitril/valsartan trisodium hemipentahydrate complex, which administration will constitute

direct infringement of one or more claims of the ’134 patent. On information and belief, if the

Zydus ANDA Products are approved, physicians and/or patients following said instructions will

directly infringe one or more claims of the ’134 patent. On information and belief, if the Zydus

ANDA Products are approved, Zydus Pharmaceuticals (USA) Inc. and/or Cadila Healthcare Ltd.

will actively encourage, recommend, or promote this infringement with knowledge of the ’134

patent, and with knowledge and intent that their acts will induce infringement of one or more

claims of the ’134 patent.

         219.     On information and belief, if the Zydus ANDA Products are approved, Zydus

Pharmaceuticals (USA) Inc. and/or Cadila Healthcare Ltd. will commercially manufacture, sell,

offer for sale, and/or import those products, which will be specifically labeled for use in a

method for the treatment of heart failure in a patient in need thereof comprising administering to

the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Zydus ANDA Products are approved, those products will constitute a material

part of a method for the treatment of heart failure in a patient in need thereof comprising

administering to the patient a therapeutically effective amount of a sacubitril/valsartan trisodium

hemipentahydrate complex, as recited in one or more claims of the ’134 patent. On information

and belief, if the Zydus ANDA Products are approved, physicians and/or patients following the

instructions in the Zydus ANDA Products will directly infringe one or more claims of the ’134


                                                 56
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        57 of 62
                                                              65 of 70 #: 57
                                                                 PageID



patent. On information and belief, if the Zydus ANDA Products are approved, Zydus

Pharmaceuticals (USA) Inc. and/or Cadila Healthcare Ltd. will contributorily infringe one or

more claims of the ’134 patent, and will do so with knowledge of the ’134 patent, and that the

Zydus ANDA Products are especially made or especially adapted for use in infringing one or

more claims of the ’134 patent and are not suitable for a substantial noninfringing use.

         220.     Novartis will be substantially and irreparably damaged by Zydus Pharmaceuticals

(USA) Inc.’s and Cadila Healthcare Ltd.’s infringement of the ’659, ’331, ’938, and ’134 patents.

         221.     Novartis is entitled to the relief provided by 35 U.S.C. § 271(e)(4), including an

order of this Court that the effective date of any approval of ANDA No. 213719 be a date that is

no earlier than July 14, 2023, the expiration of the ’659 and ’331 patents’ pediatric exclusivity,

November 27, 2027, the expiration date of the ’938 patent’s pediatric exclusivity, and May 8,

2027, the expiration of the ’134 patent’s pediatric exclusivity, or a date no earlier than the expiry

of any other patent extension or exclusivity to which Novartis is entitled, and an award of

damages for any commercial sale or use of the Zydus ANDA Products and any act committed by

Zydus Pharmaceuticals (USA) Inc. and Cadila Healthcare Ltd. with respect to the subject matter

claimed in the ’659, ’331, ’938, and ’134 patents, which act is not within the limited exclusions

of 35 U.S.C. § 271(e)(1).

         222.     On information and belief, Zydus Pharmaceuticals (USA) Inc. and Cadila

Healthcare Ltd. have taken and continue to take active steps towards the commercial

manufacture, use, sale, offer for sale, and/or importation of the Zydus ANDA Products, including

seeking approval of those products under ANDA No. 213719.

         223.     There is a substantial and immediate controversy between Novartis and Zydus

Pharmaceuticals (USA) Inc. and Cadila Healthcare Ltd. concerning the ’659, ’331, ’938, and


                                                   57
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        58 of 63
                                                              65 of 70 #: 58
                                                                 PageID



’134 patents. Novartis is entitled to declaratory judgment under 28 U.S.C. §§ 2201 and 2202 that

Zydus Pharmaceuticals (USA) Inc. and Cadila Healthcare Ltd. will infringe, induce infringement

of, and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents.

                                      PRAYER FOR RELIEF

         WHEREFORE, Novartis prays that this Court grant the following relief:

         a.       Dr. Reddy’s Laboratories, Inc.; Dr. Reddy’s Laboratories, Ltd.
                  (ANDA No. 213627)

         224.     Judgment that defendants Dr. Reddy’s Laboratories, Inc. and Dr. Reddy’s

Laboratories, Ltd. have infringed one or more claims of the ’659, ’331, ’938, and ’134 patents by

filing ANDA No. 213627;

         225.     A permanent injunction restraining and enjoining defendants Dr. Reddy’s

Laboratories, Inc. and Dr. Reddy’s Laboratories, Ltd., Inc. and their officers, agents, attorneys,

and employees, and those acting in privity or concert with them, from engaging in the

commercial manufacture, use, sale, or offer for sale in the United States, or importation into the

United States, of the Dr. Reddy’s ANDA Products prior to the expiration of the ’659, ’331, ’938,

and ’134 patents, inclusive of any extensions and additional periods of exclusivity;

         226.     An order that the effective date of any approval of ANDA No. 213627 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;

         227.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Dr. Reddy’s ANDA Products will directly infringe, induce

infringement of, and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and

’134 patents;



                                                  58
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        59 of 64
                                                              65 of 70 #: 59
                                                                 PageID



         228.     Damages or other monetary relief from defendants Dr. Reddy’s Laboratories, Inc.

and Dr. Reddy’s Laboratories, Ltd. for the infringement, inducement of infringement, and

contributory infringement of the ’659, ’331, ’938, and ’134 patents;

         229.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

         230.     Novartis’s costs and expenses in this action; and

         231.     Such other and further relief as the Court may deem just and proper.

         b.       Hetero USA Inc.; Hetero Labs Limited; Hetero Labs Limited Unit III
                  (ANDA No. 213668)

         232.     Judgment that defendants Hetero USA Inc., Hetero Labs Limited, and Hetero

Labs Limited Unit III have infringed one or more claims of the ’659, ’331, ’938, and ’134

patents by filing ANDA No. 213668;

         233.     A permanent injunction restraining and enjoining defendants Hetero USA Inc.,

Hetero Labs Limited, and Hetero Labs Limited Unit III, and their officers, agents, attorneys, and

employees, and those acting in privity or concert with them, from engaging in the commercial

manufacture, use, sale, or offer for sale in the United States, or importation into the United

States, of the Hetero ANDA Products prior to the expiration of the ’659, ’331, ’938, and ’134

patents, inclusive of any extensions and additional periods of exclusivity;

         234.     An order that the effective date of any approval of ANDA No. 213668 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;

         235.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Hetero ANDA Products will directly infringe, induce infringement of,

and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents;

                                                  59
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        60 of 65
                                                              65 of 70 #: 60
                                                                 PageID



         236.     Damages or other monetary relief from defendants Hetero USA Inc., Hetero Labs

Limited, and Hetero Labs Limited Unit III for the infringement, inducement of infringement, and

contributory infringement of the ’659, ’331, ’938, and ’134 patents;

         237.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

         238.     Novartis’s costs and expenses in this action; and

         239.     Such other and further relief as the Court may deem just and proper.

         c.       MSN Pharmaceuticals Inc.; MSN Laboratories Private Limited;
                  MSN Life Sciences Private Limited
                  (ANDA No. 213748)

         240.     Judgment that defendants MSN Pharmaceuticals Inc., MSN Laboratories Private

Limited, and MSN Life Sciences Private Limited have infringed one or more claims of the ’659,

’331, ’938, and ’134 patents by filing ANDA No. 213748;

         241.     A permanent injunction restraining and enjoining defendants MSN

Pharmaceuticals Inc., MSN Laboratories Private Limited, and MSN Life Sciences Private

Limited, and their officers, agents, attorneys, and employees, and those acting in privity or

concert with them, from engaging in the commercial manufacture, use, sale or offer for sale in

the United States, or importation into the United States, of the MSN ANDA Products prior to the

expiration of the ’659, ’331, ’938, and ’134 patents, inclusive of any extensions and additional

periods of exclusivity;

         242.     An order that the effective date of any approval of ANDA No. 213748 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;




                                                  60
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        61 of 66
                                                              65 of 70 #: 61
                                                                 PageID



         243.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the MSN ANDA Products will directly infringe, induce infringement of,

and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents;

         244.     Damages or other monetary relief from defendants MSN Pharmaceuticals Inc.,

MSN Laboratories Private Limited, and MSN Life Sciences Private Limited for the

infringement, inducement of infringement, and contributory infringement of the ’659, ’331, ’938,

and ’134 patents;

         245.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

         246.     Novartis’s costs and expenses in this action; and

         247.     Such other and further relief as the Court may deem just and proper.

         d.       Mylan Pharmaceuticals Inc.; Mylan Inc.; Mylan Laboratories Limited
                  (ANDA No. 213646)

         248.     Judgment that defendants Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan

Laboratories Limited have infringed one or more claims of the ’659, ’331, ’938, and ’134 patents

by filing ANDA No. 213646;

         249.     A permanent injunction restraining and enjoining defendants Mylan

Pharmaceuticals Inc., Mylan Inc., and Mylan Laboratories Limited, and their officers, agents,

attorneys, and employees, and those acting in privity or concert with them, from engaging in the

commercial manufacture, use, sale or offer for sale in the United States, or importation into the

United States, of the Mylan ANDA Products prior to the expiration of the ’659, ’331, ’938, and

’134 patents, inclusive of any extensions and additional periods of exclusivity;




                                                  61
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        62 of 67
                                                              65 of 70 #: 62
                                                                 PageID



         250.     An order that the effective date of any approval of ANDA No. 213646 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;

         251.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Mylan ANDA Products will directly infringe, induce infringement of,

and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents;

         252.     Damages or other monetary relief from defendants Mylan Pharmaceuticals Inc.,

Mylan Inc., and Mylan Laboratories Limited for the infringement, inducement of infringement,

and contributory infringement of the ’659, ’331, ’938, and ’134 patents;

         253.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

         254.     Novartis’s costs and expenses in this action; and

         255.     Such other and further relief as the Court may deem just and proper.

         e.       Novugen Pharma (Malaysia) Sdn. Bhd.
                  (ANDA No. 213611)

         256.     Judgment that defendant Novugen has infringed one or more claims of the ’659,

’331, ’938, and ’134 patents by filing ANDA No. 213611;

         257.     A permanent injunction restraining and enjoining defendant Novugen, and its

officers, agents, attorneys, and employees, and those acting in privity or concert with them, from

engaging in the commercial manufacture, use, sale or offer for sale in the United States, or

importation into the United States, of the Novugen ANDA Products prior to the expiration of the

’659, ’331, ’938, and ’134 patents, inclusive of any extensions and additional periods of

exclusivity;



                                                  62
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        63 of 68
                                                              65 of 70 #: 63
                                                                 PageID



         258.     An order that the effective date of any approval of ANDA No. 213611 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;

         259.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Novugen ANDA Products will directly infringe, induce infringement

of, and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents;

         260.     Damages or other monetary relief from defendant Novugen for the infringement,

inducement of infringement, and contributory infringement of the ’659, ’331, ’938, and ’134

patents;

         261.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

         262.     Novartis’s costs and expenses in this action; and

         263.     Such other and further relief as the Court may deem just and proper.

         f.       Zydus Pharmaceuticals (USA) Inc.; Cadila Healthcare Ltd.
                  (ANDA No. 213719)

         264.     Judgment that defendants Zydus Pharmaceuticals (USA) Inc. and Cadila

Healthcare Ltd. have infringed one or more claims of the ’659, ’331, ’938, and ’134 patents by

filing ANDA No. 213719;

         265.     A permanent injunction restraining and enjoining defendants Zydus

Pharmaceuticals (USA) Inc. and Cadila Healthcare Ltd., and their officers, agents, attorneys, and

employees, and those acting in privity or concert with them, from engaging in the commercial

manufacture, use, sale or offer for sale in the United States, or importation into the United States,

of the Zydus ANDA Products prior to the expiration of the ’659, ’331, ’938, and ’134 patents,

inclusive of any extensions and additional periods of exclusivity;

                                                  63
ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        64 of 69
                                                              65 of 70 #: 64
                                                                 PageID



         266.     An order that the effective date of any approval of ANDA No. 213719 be a date

that is not earlier than the expiration dates of the ’659, ’331, ’938, and ’134 patents, inclusive of

any extensions and additional periods of exclusivity;

         267.     Declaratory judgment that the commercial manufacture, use, sale, offer for sale,

and/or importation of the Zydus ANDA Products will directly infringe, induce infringement of,

and/or contributorily infringe one or more claims of the ’659, ’331, ’938, and ’134 patents;

         268.     Damages or other monetary relief from defendants Zydus Pharmaceuticals (USA)

Inc. and Cadila Healthcare Ltd. for the infringement, inducement of infringement, and

contributory infringement of the ’659, ’331, ’938, and ’134 patents;

         269.     A declaration that this case is an exceptional case pursuant to 35 U.S.C. § 285 and

an award of attorney’s fees;

         270.     Novartis’s costs and expenses in this action; and

         271.     Such other and further relief as the Court may deem just and proper.




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ME1 31830177v.1
        Case MDL No. 2930
 Case 1:19-cv-02053-LPS   Document
                        Document   1-8 Filed
                                 1 Filed      12/20/19
                                         10/29/19  Page Page
                                                        65 of 70
                                                              65 of 70 #: 65
                                                                 PageID




Dated: October 29, 2019               MCCARTER & ENGLISH, LLP

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ME1 31830177v.1
